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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

  MARK ANDREWS,                               Case No. _______________

              Plaintiff,                      JURY TRIAL DEMANDED

       v.                                     COMPLAINT

  DINESH D’SOUZA, TRUE THE
  VOTE, INC., CATHERINE
  ENGELBRECHT, GREGG
  PHILLIPS, D’SOUZA MEDIA
  LLC, SALEM MEDIA GROUP,
  INC., and JOHN DOES,

              Defendants.

      Plaintiff Mark Andrews (“Plaintiff”), through his attorneys, brings this

complaint against Defendants Dinesh D’Souza, D’Souza Media LLC, True the

Vote, Inc., Catherine Engelbrecht, Gregg Phillips, Salem Media Group, Inc., and

John Does (collectively “Defendants”).

                                 INTRODUCTION

      1.     The lie that the 2020 election was stolen through mass voter fraud

represents an existential threat to American democracy. In its most pernicious

form, it takes aim at the very notion that, in this country, we peacefully settle our

differences at the ballot box—as the unprecedented events of January 6, 2021, and
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the related, ongoing threats of political violence have demonstrated. But beyond

these injuries to our system of government, that lie has also inflicted immense

harm on innocent Americans across the country, from election workers to ordinary

voters, who have been baselessly accused of committing crimes to steal the 2020

election.

      2.     This lawsuit seeks accountability on behalf of one of those innocent

Americans: Georgia voter Mark Andrews, whom Defendants falsely accused of

ballot fraud in their multi-million dollar-grossing film, 2000 Mules.

      3.     Defendants Dinesh D’Souza, D’Souza Media LLC, True the Vote,

Inc., Catherine Engelbrecht, Gregg Phillips, Salem Media Group, Inc., and John

Does are architects and amplifiers of a widely circulated and thoroughly debunked

narrative about alleged ballot fraud in the 2020 election. Despite repeated

confirmation from experts and officials before the release of Defendants’ 2022 film

that there was no mass fraud in the 2020 presidential election, Defendants

nonetheless conspired to create and promote the lie that shadowy forces paid so-

called “mules” to transport and submit thousands of fake ballots in order to steal

the election, with a focus on several states, including Georgia.




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      4.     Combining junk pseudoscience and excerpted surveillance video of

innocent voters, Defendants produced, distributed, and widely marketed 2000

Mules, which they label a “documentary” proving their “mules” theory.

      5.     As purported evidence to support this theory, the film prominently

features footage of voters depositing ballots in legal ballot drop boxes and

baselessly identifies them as “mules” illegally “trafficking” ballots.

      6.     Plaintiff Andrews is among the voters that Defendants accuse of

illegally depositing ballots into drop boxes. As Mr. Andrews appears on screen,

during the film, Defendant D’Souza’s voiceover falsely states: “What you are

seeing is a crime. These are fraudulent votes.” Defendants also feature

Mr. Andrews in the trailer for the film.

      7.     In fact, the video of Mr. Andrews shows him legally dropping off

ballots for himself and his family, a voting method expressly authorized by

Georgia law. Indeed, a law enforcement investigation—commenced in response to

a complaint inspired by Defendants’ false narrative—determined that he had

committed no wrongdoing.

      8.     Undeterred by these findings, Defendants have continued to promote

and amplify 2000 Mules and the lie that Mr. Andrews was a “mule” engaged in

voter fraud. Three days after Mr. Andrews’ public exoneration, Defendants


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released their film in 415 theaters nationwide and ultimately made more than $1.4

million from the box office alone.1 Defendants also screened the film and

distributed it online and via DVD sales, earning millions more.

      9.     Defendants promoted the film and their “mules” narrative on

television, radio, online, and via other media—including in front of millions of Fox

News viewers—and repeatedly showed images of Mr. Andrews as an exemplar

“mule.”

      10.    At all times, Defendants knew that their portrayals of Mr. Andrews

were lies, as was the entire narrative of 2000 Mules. But they have continued to

peddle these lies in order to enrich themselves. As of the filing of this lawsuit,

Defendants’ social media accounts and website still promote the film using

Mr. Andrews as an example of a criminal “mule.”

      11.    Defendants’ lies about Mr. Andrews have been deeply consequential

for him and his family. Because of Defendants’ lies, millions of people have seen

the images of Mr. Andrews as the proverbial smoking gun proving the “mules”

theory. Indeed, the narrative remains live: for example, prominent election

deniers—including former President Donald Trump, who hosted a high-profile


1
    Box Office Mojo, 2000 Mules,
    https://www.boxofficemojo.com/release/rl2915074817/?ref_=bo_tt_gr_1 (last
    visited Oct. 1, 2022).

                                           4
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screening of 2000 Mules at Mar-a-Lago in May—have continued to spread it on an

ongoing basis.2

      12.       As a result, Mr. Andrews and his family have faced threats of violence

and live in fear. They feel intimidated to vote and have changed how they vote

because of that fear. They worry that again they will be baselessly accused of

election crimes, and that believers in the “mules” theory may recognize and seek

reprisal against them, and that they may face physical harm.

      13.       As a Black man who grew up in the American South before passage

of the Voting Rights Act, Mr. Andrews deeply cherishes the right to vote, has

always been proud to cast his ballot, and has worked tirelessly to instill these same

values in his family. Now, because of Defendants’ conspiracy to defame and

intimidate Mr. Andrews, he will never again be able to vote without looking over

his shoulder.

      14.       Defendants’ conduct violates both state and federal law. The reckless

and false allegations that Mr. Andrews engaged in voter fraud constitute textbook


2
    E.g., The Joe Pags Show, Joe Pags Interviews the 45th President, Donald J.
    Trump, NewsRadio 630 WLAP (Oct. 4, 2022),
    https://wlap.iheart.com/featured/the-joe-pags-show/content/2022-10-04-joe-
    pags-interviews-the-45th-president-donald-j-trump/; Ewan Palmer, Donald
    Trump Holds Screening of ‘2,000 Mules’ Documentary At Mar-a-Lago,
    Newsweek (May 5, 2022, 4:58 AM), https://www.newsweek.com/donald-
    trump-2000-mules-film-election-fraud-dsouza-rittenhouse-1703680.

                                            5
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cases of defamation, false light, and appropriation of likeness under Georgia law.

Further, Defendants’ coordinated campaign of intimidation and harassment

through their defamation campaign against Mr. Andrews also violates both Section

11(b) of the Voting Rights Act, 52 U.S.C. § 10307(b), and Section 2 of the Ku

Klux Klan Act, 42 U.S.C. § 1985(3), because their actions threatened and

intimidated Mr. Andrews for exercising his right to vote and caused injury to him

because he exercised his right to vote.

      15.    Mr. Andrews brings this action to clear his name and to ensure that

Defendants are held accountable for their ongoing campaign of defamation, threats

and intimidation, and in so doing, injuring him and attacking the democracy that he

holds so dear.

                                     PARTIES

      16.    Plaintiff Mark Andrews is an auditing and technology executive at a

Fortune 500 company. He resides in Georgia with his wife and three adult children.

Having grown up in Jacksonville, Florida, before the passage of federal civil rights

laws, Mr. Andrews’ family taught him that his community and ancestors had

fought, marched, and died for the right to vote. He has voted religiously since he

turned 18.




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      17.   Defendant Dinesh D’Souza is a writer, filmmaker, podcaster, media

personality, and merchandise purveyor.3 His work has been widely recognized as

unreliable. 4 In 2014, D’Souza was convicted of election-related crimes and was

pardoned by then-President Trump in 2018.5 D’Souza directed, produced, and

narrated 2000 Mules and has made numerous media appearances promoting the

film and its spurious claims of mass ballot fraud. D’Souza is domiciled in Texas.




3
    D’Souza Media, Videos, https://dineshdsouza.com/videos/ (last visited Sept.
    30, 2022).
4
    Aidan McLaughlin, Dinesh D’Souza Gets Scrubbed From the National Review
    Masthead, MEDIAite (Mar. 3, 2022, 4:47 PM),
    https://www.mediaite.com/weird/dinesh-dsouza-gets-scrubbed-from-the-
    national-review-masthead/; Zachary Petrizzo, Right-Wing Site Townhall
    Quietly Deletes Ann Coulter Post Bashing D’Souza’s Movie It Funded, Daily
    Beast (June 17, 2022, 3:43 PM), https://www.thedailybeast.com/townhall-
    quietly-deletes-ann-coulter-post-bashing-dinesh-dsouza-movie-it-funded. For
    example, the Columbia Journalism Review has called one article “a gross piece
    of innuendo—a fact-twisting, error-laden piece of paranoia. This is the worst
    kind of smear journalism—a singularly disgusting work.” Ryan Chittum,
    Forbes’ Shameful Piece on Obama as the “Other”: The worst kind of smear
    journalism by Dinesh D’Souza, Columbia Journalism Review (Sept. 13, 2010),
    https://archives.cjr.org/the_audit/forbes_shameful_obama_dinesh_dsouza.php.
5
    Dom DiFurio, Cinemark among few showing dubious 2020 election fraud
    documentary ‘2000 Mules’, Dallas News (May 24, 2022, 6:00 AM),
    https://www.dallasnews.com/business/local-companies/2022/05/24/cinemark-
    alone-in-showing-dubious-2020-election-fraud-documentary-2000-mules/.

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       18.    Defendant True the Vote, LLC (“True the Vote” or “TTV”) is a

501(c)(3) nonprofit organization with its principal place of business in Texas. 6

TTV purports to “engage” individuals to monitor voters to ensure “election

integrity.” 7 In reality, this monitoring has taken the form of voter intimidation

targeting non-white voters in urban areas.8

       19.    TTV is an Executive Producer of 2000 Mules.9 Defendant D’Souza

identified TTV as having provided the purported “research” in the movie.10

       20.    Defendant Catherine Engelbrecht is the Executive Director and co-

founder of TTV. She is an Executive Producer and Producer of 2000 Mules,




6
     True the Vote, Donate, https://www.truethevote.org/donate/ (last visited Oct.
     13, 2022); True the Vote, About Us, https://www.truethevote.org/about/ (last
     visited Oct. 10, 2022).
7
     Id.
8
     E.g., Dan Harris & Melia Patria, Is True the Vote Intimidating Minority Voters
     From Going to the Polls?, ABC News (Nov. 1, 2012, 1:27 PM),
     https://abcnews.go.com/Politics/true-vote-intimidating-minority-voters-
     polls/story?id=17618823; AJ Vicens & Natasha Khan, Voters feel intimidated
     by election observers, Tucson Sentinel (Aug. 20, 2012),
     https://www.tucsonsentinel.com/nationworld/report/082012_voting_observers/
     voters-feel-intimidated-by-election-observers/.
9
     2000 Mules, IMDb,
     https://www.imdb.com/title/tt18924506/fullcredits?ref_=tt_ov_st_sm (last
     visited Oct. 18, 2022).
10
     D’Souza Media, 2000 Mules, https://dineshdsouza.com/films/ (last visited Sept.
     30, 2022).

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appears throughout the film, and has made many media appearances promoting

2000 Mules.11 Defendant Engelbrecht is domiciled in Texas.

       21.    Defendant Gregg Phillips has served on TTV’s board of directors and

is an executive producer and producer and appears throughout 2000 Mules. 12 He

states in the film that he worked with TTV to develop the “research” and

“methodology” used to identify the so-called “mules.” He led the team that

claimed to identify the “ballot mules” in 2000 Mules and has made many media

appearances promoting 2000 Mules and reaffirming spurious claims of mass ballot

fraud. He is domiciled in Alabama.

       22.    Collectively, Defendants TTV, Engelbrecht, and Phillips are referred

to as “the TTV Defendants.”

       23.    Defendant D’Souza Media, LLC (“D’Souza Media”) is a media

production company. D’Souza Media is one production company responsible for

2000 Mules and was the film’s distributor. D’Souza Media was formed in 2015, is

incorporated in Delaware, and has its principal place of business in Texas.




11
     2000 Mules, IMDb,
     https://www.imdb.com/title/tt18924506/fullcredits?ref_=tt_ov_st_sm (last
     visited Oct. 18, 2022).
12
     Id.; Reveal, The Big Grift Behind the Big Life, Reveal News (Sept. 10, 2022),
     https://revealnews.org/podcast/the-big-grift-behind-the-big-lie/.

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      24.    Defendant Salem Media Group, Inc. (“Salem Media”) is a publicly

traded for-profit media company. Salem Media is also a production company

responsible for 2000 Mules. A Salem Media affiliate distributes The Dinesh

D’Souza Podcast, which Defendant D’Souza used extensively to promote 2000

Mules and which is depicted in the film. Salem Media-affiliated hosts are featured

in portions of the documentary in which D’Souza shares his findings and gathers

their reactions. Salem Media is incorporated in Delaware and has its principal

place of business in Texas.

      25.    John Doe Defendants have conspired with all other Defendants in

order to create, spread, and promote 2000 Mules and the lies about Mr. Andrews

within it. They engaged in overt acts and took substantial steps in furtherance of

the conspiracy.

                         JURISDICTION AND VENUE

      26.    The Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 because this action arises under federal law, specifically Section

2 of the Ku Klux Klan Act, 42 U.S.C. § 1985(3), and Section 11(b) of the Voting

Rights Act, 52 U.S.C. § 10307(b). The Court has supplemental jurisdiction over

Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367 because they are so




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closely related to the federal claims as to form part of the same case or

controversy.

      27.      The Court also has subject-matter jurisdiction over this matter

pursuant to 28 U.S.C. § 1332(a)(1), as the matter in controversy exceeds $75,000

exclusive of interests and costs and the parties have diversity of citizenship.

      28.      The Court may exercise personal jurisdiction over Defendants under

Ga. Code Ann. § 9-10-91 because all Defendants have committed the tortious

actions of voter intimidation, conspiracy to commit voter intimidation, false light,

and appropriation of likeness in Georgia. Further, each Defendant has committed

the tortious injury of defamation and regularly does or solicits business, and/or

engages in other persistent courses of conduct, and/or derives substantial revenue

from goods used or consumed or services rendered in Georgia—including from

2000 Mules and related appearances and ventures.

      29.      Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because

significant events giving rise to this action occurred in the Northern District of

Georgia.

                                        FACTS

      A.       Defendants conspired to produce and promote 2000 Mules.




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       30.    Following former President Donald Trump’s defeat in the 2020

presidential election, Defendants invented and promoted a baseless narrative that

there was “widespread, coordinated voter fraud in the 2020 election, sufficient to

change the overall outcome.”13 Defendants claim this fraud was achieved via “an

elaborate network of paid professional operatives called mules delivering

fraudulent and illegal votes to mail-in drop boxes in the five key states where the

election was decided.” 14

       31.    Defendants and their collaborators worked together to create, release,

and promote the movie 2000 Mules, which they claim is a “documentary”

corroborating the false narrative that the election was stolen by “mules.” 15

       32.    In a May 4, 2022, interview, Defendant D’Souza described the film as

“an exposé of a coordinated ring of paid ballot trafficking, illegal votes, fraudulent




13
     2000 Mules, SalemNOW Store, https://shop.salemnow.com/product/2000-
     mules/ [perma.cc/8UQQ-UMXW] (last visited Oct. 2, 2022).
14
     Id.
15
     Id. Defendant D’Souza later admitted that though the film is marketed as a
     “documentary,” much of its action is really a series of “recreations” and took
     place on sets—though they are not portrayed as such in the film. Tom
     Dreisbach, A publisher abruptly recalled the ‘2,000 Mules’ election denial
     book. NPR got a copy., NPR (Sept. 8, 2022, 12:44 PM),
     https://www.npr.org/2022/09/08/1121648290/a-publisher-abruptly-recalled-
     the-2-000-mules-election-denial-book-npr-got-a-cop.

                                          12
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votes being dumped en masse into mail-in drop boxes.”16 Defendants’ film asserts

that so-called “ballot mules” were paid to deliver illegal ballots from nonprofit

organizations to absentee drop boxes in five swing states, including Georgia.

According to Defendants’ film, the “mules” illegally deposited enough ballots to

swing the election from former President Trump to President Joe Biden.

       33.   In fact, Defendants’ film intentionally mischaracterizes data and

misconstrues the images of Mr. Andrews lawfully voting to support their

preconceived narrative that the 2020 election was stolen. Even prominent members

of former President Trump’s party, including former Attorney General William

Barr and Georgia’s Republican Secretary of State Brad Raffensperger, have

rejected Defendants’ false narrative.17


16
     Kevin Hogan, NTD News Today Full Broadcast (May 4), NTD (May 4, 2022),
     https://www.ntd.com/ntd-news-today-full-broadcast-may-4-3_774836.html.
17
     Amanda Carpenter, Dinesh D’Souza’s 2000 Mules Is a Hilarious
     Mockumentary, Bulwark (May 17, 2022, 5:14 AM),
     https://www.thebulwark.com/dinesh-dsouzas-2000-mules-is-a-hilarious-
     mockumentary/. Former Attorney General Bill Barr laughed during a
     deposition when asked about the film, saying he was not convinced by it and
     calling the cellphone geolocation data “singularly unimpressive.” Grace
     Panetta, Former AG Bill Barr laughs at Dinesh D’Souza’s election conspiracy
     theory film ‘2000 Mules’ in January 6 Committee deposition, Insider (June 13,
     2022, 1:16 PM), https://www.businessinsider.com/bill-barr-mocks-2000-mules-
     film-january-6-deposition-video-2022-6. Conservative commentator Ben
     Shapiro said: “I think the conclusions of the film are not justified by the
     premises of the film itself. There are a bunch of dots that need to be
                                                                                 (cont’d)


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       34.   Defendants’ film falsely claims that cell phone geolocation data

(combined with the footage in the film) proves that the voters depicted in the film

were “mules” who unlawfully deposited fraudulent ballots, because certain cell

phones were repeatedly near the location of drop boxes on multiple occasions. As

additional “evidence,” the film includes surveillance footage of people depositing

ballots into drop boxes and claims that these voters are paid operatives “involved

in picking up [fraudulent] ballots from locations and running them to the drop

boxes.”18

       35.   Mr. Andrews is one of the voters Defendants portray in the film. Both

the film and its trailer prominently feature video surveillance footage of

Mr. Andrews depositing his and his family’s absentee ballots in a Georgia ballot

drop box, which the TTV Defendants edited into a widely used video clip (“the

TTV clip”). The TTV Defendants excerpted and used this footage without

Mr. Andrews’ knowledge or consent.




     connected.” Ben Shapiro, Ben Shapiro REACTS To The “2000 Mules”
     Documentary, YouTube (May 10, 2022),
     https://www.youtube.com/watch?v=BnYWx2Ozahk; Eli Lake, REVIEW: ‘2000
     Mules’, Free Beacon (May 27, 2022, 3:45 PM),
     https://freebeacon.com/politics/review-2000-mules.
18
     DVD: 2000 Mules (Dinesh D’Souza 2022 Film) (on file with author).

                                         14
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           36.   In the film, Defendants included this video of Mr. Andrews (with his

face blurred) as an example of a “mule” at a drop box. The video also includes an

image of Mr. Andrews’ white SUV.

           37.   In the film, Mr. Andrews’ image (with his face blurred) is

accompanied by a voiceover from Defendant D’Souza saying: “What you are

seeing is a crime. These are fraudulent votes.” 19

           38.   Mr. Andrews is portrayed in the final standalone video clip in a series

of twelve clips of voters depositing absentee ballots in drop boxes.

           39.   The video clips of voters, including Mr. Andrews, are shown

immediately after a false explanation by Defendants D’Souza, Engelbrecht, and

Phillips of why the conduct portrayed is illegal. These three Defendants appear in

the film together to describe the so-called “mules” and the invented criminal

scheme, namely, that these voters were paid to deposit fraudulent ballots in drop

boxes (which would violate state and federal laws).

           40.   Defendants D’Souza, Engelbrecht, and Phillips describe this

purported criminal scheme in detail, using terms associated with serious crimes.

For example, Defendant Engelbrecht explains in the film: “And to us, it felt a lot

like a cartel, it felt a lot like trafficking. It can be trafficking in drugs, trafficking in


19
     Id.

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humans. In this instance it’s ballot trafficking and so we began to use that

vernacular.”

       41.     They also accuse the “mules” of committing other crimes, including

joining “riots” in Atlanta, and, in other interviews, “burning people” and “pulling

people out of cars and beating them up.” 20

       42.     Defendants’ description and then the depiction of video clips of voters

(including Mr. Andrews) make clear that Defendants’ description of illegal

conduct by “mules” is meant to apply to Mr. Andrews. Further, Defendant

D’Souza’s voiceover stating “what you are seeing is a crime” occurs while

Mr. Andrews’ image is shown on screen.

       43.     Defendants also included the footage of Mr. Andrews voting in their

“official” trailer for 2000 Mules. 21 In the trailer, D’Souza asks, “do you have video

evidence?” of the alleged mules engaged in criminal conduct. Phillips replies:




20
     Joshua Philipp, Crossroads, Dinesh D’Souza: Enough Fraud Was Committed to
     Steal 2020 Election, Epoch Times (May 6, 2022),
     https://www.theepochtimes.com/dinesh-dsouza-enough-fraud-was-committed-
     to-steal-2020-election_4443068.html; WMBC TV 63 New York, NTD:
     Crossroads, Transcript, TV Eyes (Sept. 13, 2022, 9:00 PM),
     https://mms.tveyes.com/transcript.asp?StationID=12090&DateTime=9/13/2022
     %209:00:46%20PM&playclip =true&pbc=search%3a%2b(tactic)
     [https://perma.cc/5WTK-2RD6].
21
     2000 Mules, https://2000mules.com/ (last visited Sept. 30, 2022).

                                           16
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“four million minutes of surveillance video,” as Mr. Andrews’ image (with his face

blurred) is shown.22

       44.   Defendants included in the trailer the following dialogue from the film

discussing the purported mules (including Mr. Andrews):

       Phillips: “This is not grandma walking her dog: bad backgrounds, bad
       reputations. They are interested in one thing: that’s money.”

       Engelbrecht: “And in no shape, in no way, in no time is that legal.”
       Phillips: “This is organized crime.”

       45.   D’Souza published this trailer on April 23, 2022, on his account on

the video-sharing website Rumble. As of October 24, 2022, the trailer has over 3.8

million views. 23 D’Souza also shared the trailer on his Twitter page on April 23,

2022, where the tweet has accumulated more 14,000 likes and over 8,600

retweets.24 TTV shared the trailer on Rumble that same day, and as of October 24

2022, the post has over 674,000 views. 25 TTV also shared the trailer on its website,


22
     Id.
23
     Dinesh D’Souza, 2000 Mules Trailer, Rumble (Apr. 23, 2022),
     https://rumble.com/v1238uc-2000-mules-trailer.html [https://perma.cc/RN99-
     ZJFN].
24
     Dinesh D’Souza (@DineshDSouza), Twitter (Apr. 23, 2022, 9:37 PM),
     https://twitter.com/DineshDSouza/status/1518041311210782721
     [https://perma.cc/YLZ8-U6LB].
25
     True the Vote, 2000 Mules: Extended Trailer, Rumble (Apr. 23, 2022),
     https://rumble.com/v124geo-2000-mules-extended-trailer.html
     [https://perma.cc/XBL6-R7NL].

                                         17
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and official Facebook and Instagram pages on April 23 and April 24, 2022.26

TTV’s post was shared more than 900 times on Facebook.

       46.   In the weeks leading up to the film’s premiere, Defendants continued

to show Mr. Andrews’ image in various media outlets and spread the false claim

that he and others were engaged in election crimes. In addition to publicizing the

trailer, in the lead up to the film’s premiere, Defendants showed Mr. Andrews’

image at least eleven times in media appearances, while making the false claim

that he and others were engaged in election crimes.

       47.   On April 8, 2022, Defendants Engelbrecht and Phillips twice showed

an excerpt of Mr. Andrews voting without any blurring of his face on The Charlie

Kirk Show, which Defendant Salem Media produces.27


26
     Catherine Engelbrecht, 2000 Mules is Just the Beginning - See New Trailer
     Here!, True the Vote (Apr. 24, 2022), https://www.truethevote.org/sneak-peek-
     new-2000-mules-footage-released/ [https://perma.cc/RQ9T-YHK2];
     @RealTrueTheVote, Our movie ‘2000 Mules’ is just the beginning., Instagram
     (Apr. 23, 2022), https://www.instagram.com/p/Cct3Y-cjupV/
     [https://perma.cc/CAX3-XDGV]; True The Vote, See the extended trailer for
     True the Vote’s ‘2000 Mules,’ produced by Dinesh D’Souza, Facebook (Apr.
     24, 2022), https://www.facebook.com/TrueTheVote/posts/1187649231982163/
     [https://perma.cc/C93F-5WK3].
27
     The Charlie Kirk Show, How They Did It - True the Vote’s Catherine
     Engelbrecht and Gregg Phillips on The Charlie Kirk Show, Rumble (Apr. 8,
     2022), https://rumble.com/v10ajh2-how-the-did-it-true-the-votes-catherine-
     engelbrecht-and-gregg-phillips-on-t.html [perma.cc/WAT2-9QFQ]; True the
     Vote, Charlie Kirk Interviews True the Vote, Rumble (Apr. 13, 2022),
                                                                              (cont’d)


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      48.   During the interview, the unblurred video, which includes Mr.

Andrews’ face and the license plate on his car, shows him voting while

Engelbrecht and Phillips falsely describe the video as depicting Mr. Andrews

committed crimes:

      Kirk: “Ok let’s watch this video here. This is Gwinnett County, is that
      right?”

      Engelbrecht: “Yes.”
      Kirk: “Ok. And we can talk over the video as it’s happening because
      there’s no sound. Ok so a white [video of Andrews voting begins]
      SUV [Andrews’ vehicle] pulls up, middle of the day, what are we
      looking at here guys?”

      Phillips: “You’re going to see a voter [Andrews] get out—a mule get
      out.”

      Engelbrecht: “A mule [referring to Andrews] get out.”
      Kirk: “So this is a mule [referring to Andrews]? [Referring to the
      unblurred image of Andrews.] This is one of your 2000 that you’ve
      profiled.”
      Engelbrecht: “Yes.”

      Philips: “And they’ve—and they’ve got their ballots [referring to
      Andrews holding his and his family’s ballots]. And they [referring to



   https://rumble.com/v10ubu3-charlie-kirk-interviews-true-the-
   vote.html?mref=hsiwx&mrefc=2 [https://perma.cc/ZD2C-VHTJ]; True the
   Vote, “How They Did It”: The Charlie Kirk Show Features True the Vote
   Bombshell Election Integrity Revelations (Apr. 7, 2022),
   https://ttvdevv.wpengine.com/the-charlie-kirk-show-features-true-the-vote/
   [https://perma.cc/4X9F-Y8SY].

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 Andrews] walk up to the box. You can only fit a couple of ballots in at
 the same time.”
 Kirk: “Is this the state of Georgia?”
 Phillips: “Yeah.”

 Engelbrecht: “Yes.”
 Kirk: “So you’re not allowed to turn in more than one?”
 Engelbrecht: “Yes.”

 Kirk: “Unless it’s for a close relative?”
 Engelbrecht: “That is correct.”
 Phillips: “And [referring to Andrews depositing the ballots] he’s trying
 to figure out how to even get them into the box because he has so many
 he can’t fit them in the little—the little slot. So then he starts having to
 put them in one by one. Everybody’s sitting there waiting on him. One.”

 Kirk: “[Referring to Andrews’ behavior] Now this is illegal?”
 Engelbrecht: “Right.”

 Kirk: “Highly illegal to do this.”

 Engelbrecht: “Right.”

 Phillips: “[Referring to Andrews depositing the ballots] Every one past
 that first one was illegal.”

 Engelbrecht: “Well there is a possible in that he [Andrews] could have
 been an assistor, which would have meant he would have had [video of
 Andrews voting ends] a signed envelope that would had indicated that
 he was an assistor in that capacity, but through our open records we
 confirmed that Gwinnett County had no assistors.”
 Kirk: “Ok.”

 Engelbrecht: “So we tried to kick over you know every, every rock.”

                                      20
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       Kirk: “Good for you. Because that would have been in The Washington
       Post: ‘Hey could have been an assistor.’”
       Engelbrecht: “Absolutely.”
       Kirk: “Well, no, we looked into it.”28

       49.   Even as Defendants Kirk and Engelbrecht acknowledge that Georgia

law permits voters to deliver ballots of their close relatives, they claim, without

evidence, that Mr. Andrews was acting illegally. They also claim that the only way

he could have done this was as an official “assistor,” which is incorrect—the

“assistor” provision of Georgia law is separate from the section that authorizes

delivery of ballots for relatives. See Ga. Code Ann. § 21-2-385(a) (family member

delivery); id. § 21-2-385(b) (assisting a physically disabled or illiterate voter).

       50.   Later in the interview, Defendants’ clip of Mr. Andrews voting plays

again, with his face unblurred, and including a location and timestamp: “Drop box

- Gwinnett County Election Office - Grayson Hwy” and “10/6/20 9:48AM.”

Onscreen in large, bold letters is the caption: “Ballot Harvesting is illegal in GA!”




28
     The Charlie Kirk Show, How They Did It - True the Vote’s Catherine
     Engelbrecht and Gregg Phillips on The Charlie Kirk Show, Rumble (Apr. 8,
     2022), https://rumble.com/v10ajh2-how-the-did-it-true-the-votes-catherine-
     engelbrecht-and-gregg-phillips-on-t.html [perma.cc/WAT2-9QFQ].

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      51.    This episode of The Charlie Kirk Show was published on Rumble on

April 8, 2022, and has more than 2.1 million views.29 True the Vote shared links to

the video on its website, and on its Instagram, Rumble, and Facebook pages. 30 The

episode remains publicly available.

      52.    On May 4, 2022, Defendant D’Souza appeared on NTD News on New

York news channel WMBC 63, where he repeated the false claim that

Mr. Andrews had committed voter fraud. Defendant D’Souza stated that “[2000

Mules] is an exposé of a coordinated ring of paid ballot trafficking, illegal votes,




29
   The Charlie Kirk Show, How They Did It - True the Vote’s Catherine
   Engelbrecht and Gregg Phillips on The Charlie Kirk Show, Rumble (Apr. 8,
   2022), https://rumble.com/v10ajh2-how-the-did-it-true-the-votes-catherine-
   engelbrecht-and-gregg-phillips-on-t.html [perma.cc/WAT2-9QFQ].
30
   True the Vote, “How They Did It”: The Charlie Kirk Show Features True the
   Vote Bombshell Election Integrity Revelations (Apr. 7, 2022),
   https://www.truethevote.org/the-charlie-kirk-show-features-true-the-vote/
   [https://perma.cc/5A62-U4J2]; @RealTrueTheVote, Special Thanks to Charlie
   Kirk, Instagram (Apr. 8, 2022), https://www.instagram.com/p/CcGy5Q2p8aC/
   [https://perma.cc/C69E-3EBV];
   True the Vote, Charlie Kirk Interviews True the Vote, Rumble (Apr. 13, 2022),
   https://rumble.com/v10ubu3-charlie-kirk-interviews-true-the-
   vote.html?mref=hsiwx&mrefc=2 [https://perma.cc/ZD2C-VHTJ]; True the
   Vote, ICYMI: Here’s our full interview with Charlie Kirk on the Charlie Kirk
   Show., Facebook,
   https://www.facebook.com/plugins/post.php?href=https%3A%2F%2Fwww.fac
   ebook.com%2FTrueTheVote%2Fposts%2Fpfbid038MbJziMYJ9GcNXgHRtyti
   X2Wy2k44Z6vw1cFghWnJtfH9X3TPZytkov9THZG1GMTl&show_text=true
   &width=500 [https://perma.cc/D6TL-F8YJ] (last visited Sept. 30, 2022).

                                          22
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fraudulent votes being dumped en masse into mail-in drop boxes.” 31 The TTV clip

of Mr. Andrews voting appeared onscreen (with his face blurred) as Defendant

D’Souza said “dumped en masse into mail-in drop boxes.”

       53.    Later in the interview, Defendant D’Souza said that by watching the

film, “you will actually be taken to the scene of the crime. You’ll be able to see it

for yourself. Now where do you see the movie, there’s only one way to see it: go to

the website.”32 Defendant D’Souza went on to explain that they had identified

“more than 2000 mules. A mule is just kind of the trafficker, it’s a term taken out

of sex trafficking or drug trafficking, except we’re talking now about ballot

trafficking.” 33

       54.    The next day, May 5, 2022, Defendant Engelbrecht appeared on

Tucker Carlson Tonight on Fox News. During her appearance, the TTV clip of

Mr. Andrews appeared as she made false claims about the election fraud

purportedly depicted in 2000 Mules. Neither Mr. Andrews’ face nor his license

plate are blurred as she described “a recipe for fraud.” 34


31
     Kevin Hogan, NTD News Today Full Broadcast (May 4), NTD (May 4, 2022),
     https://www.ntd.com/ntd-news-today-full-broadcast-may-4-3_774836.html.
32
     Id.
33
     Id.
34
     True the Vote, Is the house of cards finally falling? True the Vote founder
     Catherine Engelbrecht dropped some truth bombs on Tucker last night.,
                                                                                 (cont’d)


                                           23
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       55.   One minute later, Defendant Engelbrecht said: “As I sit here tonight, I

can tell you there was rampant abuse of those drop boxes, and the data that we

have is immutable and proves it, now buttressed increasingly by video.” 35 She also

commented: “the subversion was in fact real.” 36

       56.   Tucker Carlson Tonight averaged more than 3.2 million viewers per

night the month Defendant Engelbrecht appeared and discussed Mr. Andrews’

image. 37

       57.   On May 6, 2022, Defendant D’Souza appeared on The Epoch Times’

Crossroads with host Joshua Philipp, a news show broadcast online and on

television via a streaming service. 38 Mr. Andrews’ blurred image was shown twice.

The first instance was in Philipp’s introduction to the segment as he claimed that

“alleged paid couriers called mules were traveling to various nonprofit groups and


     Facebook (May 6, 2022),
     https://www.facebook.com/watch/?v=1381334499041217&ref=sharing
     [perma.cc/NE2K-M3PJ].
35
     Id.
36
     Id.
37
     A.J. Katz, May ‘22 Ratings: Fox News Delivers 2nd-Largest May Audience in
     Network History, TV Newser (June 1, 2022, 3:45 PM),
     https://www.adweek.com/tvnewser/may-22-ratings-fox-news-delivers-2nd-
     largest-may-audience-in-network-history/508109/.
38
     Joshua Philipp, Crossroads, Dinesh D’Souza: Enough Fraud Was Committed to
     Steal 2020 Election, Epoch Times (May 6, 2022),
     https://www.theepochtimes.com/dinesh-dsouza-enough-fraud-was-committed-
     to-steal-2020-election_4443068.html.

                                         24
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ballot drop boxes.”39 Later in the interview, Defendant D’Souza said: “What seals

the deal and what made this movie so powerful…is when True the Vote began to

show me surveillance video that they had obtained from the states themselves,

official surveillance video which kind of catches the mules in the act.”

Mr. Andrews’ image appears during Defendant D’Souza’s first mention of

“surveillance video.”

       58.   During the interview, Defendant D’Souza falsely claimed that

“everything that you see in the movie is 100% illegal in all the 50 states.” He

continued to claim that the “mules” engaged in other criminal activity: “We

happen to know that a number of the mules are Antifa-BLM types. Those are the

sort of thugs who are being hired to do this.”

       59.   The episode re-aired on WMBC TV 63 as recently as September 13,

2022. 40




39
     Id.
40
     WMBC TV 63 New York, NTD: Crossroads, Transcript, TV Eyes (Sept. 13,
     2022, 9:00 PM),
     https://mms.tveyes.com/transcript.asp?StationID=12090&DateTime=9/13/2022
     %209:00:46%20PM&playclip =true&pbc=search%3a%2b(tactic)
     [perma.cc/5WTK-2RD6].

                                         25
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       60.   The episode remains on The Epoch Times’ website, which had 26.5

million visitors in July 2022.41 The video itself has been viewed more than 119,000

times and shared to social media more than 11,000 times.42

       61.   On May 8, 2022, TTV shared on its Facebook page the seven-minute

clip of Engelbrecht on Tucker Carlson Tonight with the footage of Mr. Andrews

voting, with his face unblurred and recognizable, and her statements that the video

depicted individuals committing election fraud (detailed above). The clip was

viewed more than 247,000 times and shared more than 7,800 times. 43 It is still

online as of October 24, 2022. The video was also shared on TTV’s Instagram and

Rumble accounts, as well as Defendant D’Souza’s Rumble.44


41
     Similar Web, The Epoch Times,
     https://www.similarweb.com/website/theepochtimes.com/ (last visited Oct. 2,
     2022).
42
     Joshua Philipp, Crossroads, Dinesh D’Souza: Enough Fraud Was Committed to
     Steal 2020 Election, Epoch Times (May 6, 2022),
     https://www.theepochtimes.com/dinesh-dsouza-enough-fraud-was-committed-
     to-steal-2020-election_4443068.html.
43
     True the Vote, Is the house of cards finally falling? True the Vote founder
     Catherine Engelbrecht dropped some truth bombs on Tucker last night.,
     Facebook (May 6, 2022),
     https://www.facebook.com/watch/?v=1381334499041217&ref=sharing
     [perma.cc/NE2K-M3PJ].
44
     @RealTrueTheVote, Is the house of cards finally falling? True the Vote
     founder Catherine Engelbrecht dropped some truth bombs on Tucker last
     night., Instagram (May 6, 2022), https://www.instagram.com/p/CdN1ud6D11e/
     [https://perma.cc/G98V-4HFR];
                                                                                (cont’d)


                                         26
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       62.   On May 8, 2022, TTV published on its Facebook page another video

about how it planned to release all of its video and data evidence of mass fraud

beyond that contained in 2000 Mules. Interspersed among ominous footage and

statements about how “all the easy choices are in the past” and “pull[ing] the

ripcord,” the trailer contained Mr. Andrews’ image (with his face blurred) as the

first in a series of examples of video evidence.45 This trailer has more than 95,000

views. 46 TTV shared the trailer on its website, Instagram, and Rumble. 47



     True the Vote, Tucker Carlson Tonight - Catherine Engelbrecht May 5, 2022,
     Rumble (May 5, 2022), https://rumble.com/v13oocs-tucker-carlson-tonight-
     catherine-engelbrecht-may-5-2022.html?mref=hsiwx&mrefc=4
     [https://perma.cc/33UC-87H5];
     Dinesh D’Souza, Catherine Engelbrecht Joins Tucker to Discuss the
     Groundbreaking Technology Behind “2000 Mules,” Rumble (May 6, 2022),
     https://rumble.com/v13qlbn-catherine-engelbrecht-joins-tucker-to-discuss-the-
     groundbreaking-technology.html?mref=hsiwx&mrefc=3
     [https://perma.cc/QC4N-PRUY].
45
     True The Vote, They thought that with the movie launch, we were done.,
     Facebook (May 8, 2022),
     https://www.facebook.com/TrueTheVote/videos/335770281958423/
     [perma.cc/MJ8R-G83G].
46
     Id.
47
     True the Vote, Release 2000 Mules (May 9, 2022),
     https://www.truethevote.org/release-2000-mules-expose-the-truth-then-pull-
     the-ripcord/ [https://perma.cc/ET9E-XJD8]; @RealTrueTheVote, They thought
     that with the movie launch, we were done., Instagram (May 8, 2022),
     https://www.instagram.com/p/CdTt8_ujYbI/ [https://perma.cc/9T55-XCD8];
     True the Vote, This is Not The End, Rumble (May 8, 2022),
     https://rumble.com/v13zwyp-true-the-vote-this-is-not-the-
     end.html?mref=hsiwx&mrefc=7 [https://perma.cc/K4RW-KV7M].

                                         27
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       63.   On May 11, 2022, Defendant D’Souza appeared on One America

News Network’s Tipping Point with Kara McKinney. He showed the TTV clip of

Mr. Andrews voting (with his face blurred). During the interview, D’Souza

claimed that the film “shows that there was fraud, coordinated fraud in all the key

states that decided the election.”48 As evidence of this, he claimed that the video

“confirmed” the scheme, as it showed the same “mules” that were geotracked

“stuffing the ballot box” and constituted “proof of a very high order.”49

       64.   On May 14, 2022, Defendants Engelbrecht and Phillips appeared on

The Epoch Times’ news show Truth Matters with Roman Balmakov and showed

the TTV clip of Mr. Andrews voting (with his face blurred) as they explained the

purported illegal “mules” scheme.50 Phillips stated that they used geolocation

tracking because “we were looking for ways to solve a crime.”51 Phillips claimed

that they tracked people going to “stash houses,” and “delivering” to ballot drop




48
     Media Matters, From the May 11, 2022, edition of OAN’s Tipping Point,
     https://www.mediamatters.org/media/3988751 (last visited Oct. 1, 2022).
49
     Id.
50
     True the Vote, ‘Local Insurgencies’: The Epoch Times Features Interview With
     True the Vote About Who Is Funding the Ballot Mules (May 14, 2022),
     https://www.truethevote.org/the-epoch-times-interview-about-who-is-funding-
     the-ballot-mules/ [perma.cc/G6RG-BLU7].
51
     Id.

                                          28
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boxes, then “backed [that] up with video.”52 He stated, “in no case, either by

federal law or any state law, can you get paid to traffic ballots.”53

           65.   Before the clip played, Phillips stated:

           The data itself is immutable. Even if you don’t believe your lying eyes
           on that, then just go look at the video. I mean, okay, if I could show you
           that some guy’s up there putting all these ballots in the video and I can
           show you the pings, and then we can show you where he did it again
           and again and again and again, it really takes an extraordinary person
           with an agenda that’s probably not America’s agenda to say: “I don’t
           believe that.”
           66.   While Defendants’ excerpt of Mr. Andrews voting played, Mr.

Balmakov asserted: “That happened. What we just saw is an actual thing that

happened. . . . What are we going to do about this?” referring to the film’s invented

claims of voter fraud. In discussing the footage of voters (including Mr. Andrews),

Defendant Engelbrecht stated, without any factual basis with respect to

Mr. Andrews: “Their phone was at a violent riot. Make of that what you will.” 54

Mr. Andrews has never attended a “violent riot.”




52
     Id.
53
     Id.
54
     Id.

                                              29
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       67.    The interview has been viewed more than 159,000 times on the Epoch

Times website. 55 TTV also published the interview on its website, Facebook, and

Rumble, where it remains available for viewing.56 In addition, True the Vote’s

Instagram account still promotes the interview with a post and a link to the video.57

       B.     Defendants’ allegations are false.
       68.    Mr. Andrews lives in Gwinnett County, Georgia, with his wife of

almost forty years and his three adult children. All are registered voters.

       69.    Mr. Andrews deeply cherishes exercising his right to vote. Growing

up in the South in the 1960s, he heard stories from family members about when



55
     Roman Balmakov, Facts Matter, Ballot Mules Funded by Obama-Linked NGOs
     Poured Billions Into ‘Local Insurgencies’: Analyst, Epoch Times (May 13,
     2022), https://www.theepochtimes.com/obama-affiliated-ngos-poured-billions-
     into-local-insurgencies-to-steal-2020-election-analyst_4458553.html
     [perma.cc/V8NN-6NZU].
56
     True the Vote, ‘Local Insurgencies’: The Epoch Times Features Interview With
     True the Vote About Who Is Funding the Ballot Mules (May 14, 2022),
     https://www.truethevote.org/the-epoch-times-interview-about-who-is-funding-
     the-ballot-mules/ [perma.cc/G6RG-BLU7]; True the Vote, Want to know who
     is behind the trafficking?, Facebook, https://perma.cc/7PGG-W324 (last visited
     Sept. 30, 2022); True the Vote, Epoch Times_Obama Affiliated NGOs Poured
     Billions to Steal Elections, Rumble (May 13, 2022),
     https://rumble.com/v14no71-epoch-times-obama-affiliated-ngos-poured-
     billions-to-steal-elections.html?mref=hsiwx&mrefc=6 [https://perma.cc/LP3R-
     B9NK].
57
     @RealTrueTheVote, Want to know who is behind the trafficking?, Instagram
     (May 14, 2022), https://www.instagram.com/p/CdjKQ4Ju1S7/
     [https://perma.cc/B8HF-MBAX].

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Black people could not vote. From a young age, Mr. Andrews’ family instilled in

him that by voting he was making the world a better place for future generations

and protecting the legacy of his forebearers who had fought for his right to vote.

As a result, Mr. Andrews is a committed voter, having cast a ballot in every

presidential and midterm general election since moving to Georgia in 1995.

       70.    Mr. Andrews has passed down this core family value by encouraging

his three adult children to vote. To this end, for the 2020 presidential election,

given the COVID-19 pandemic, he offered to drop off the completed ballots of his

children and his wife at a ballot drop box.

       71.    Before dropping off his family’s ballots, Mr. Andrews checked

Georgia law, confirming that it specifically allows a voter’s father or spouse (and

other household members) to deliver their ballot to a voting location, including a

drop box.58

       72.    On October 6, 2020, Mr. Andrews voted by depositing his ballot in a

ballot drop box in downtown Lawrenceville in Gwinnett County, Georgia (“the

ballot box”). He stopped his car by the ballot box, walked out of his car, and voted

by placing his ballot in the ballot box.




58
     Ga. Code Ann. § 21-2-385(a) (2020).

                                           31
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       73.   In addition to his own ballot, he deposited the ballots that his wife and

his three children had completed for themselves. Before placing the ballots in the

box, he carefully checked to make sure that all five ballots were there, and that

they were not stuck together. Mr. Andrews carefully dropped off these ballots well

before election day to ensure that they were counted.

       74.   As Mr. Andrews went to vote, he noticed that there were security

cameras. However, he could not have imagined that the footage of him voting

would become “evidence” in a coordinated campaign of voter intimidation,

harassment, and defamation.

       75.   On April 25, 2022, unbeknownst to Mr. Andrews, a Georgia resident

named David A. Cross filed a complaint against Mr. Andrews with the Georgia

Bureau of Investigations (GBI) asserting the same false allegations of ballot fraud

in 2000 Mules.

       76.   Cross’ complaint to the GBI included multiple screenshots of

Mr. Andrews voting, as well as Mr. Andrews’ vehicle and license plate number, all

unblurred and all taken from the TTV video clip. 59




59
     The investigator used this information about Andrews’ vehicle to locate and
     identify Andrews. Investigations Division Summary at 2, Case No. SEB2022-
     054, Georgia Secretary of State (May 12, 2022).

                                         32
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       77.    Cross routinely collaborates with Defendant True the Vote.60 In fact,

public statements by True the Vote in 2022 indicate that True the Vote

collaborated with Cross to obtain video “evidence” of illegal ballot delivery in

Georgia.

       78.    The text of Cross’ complaint provides further evidence of his

collaboration with TTV. It relied on Defendants’ false “mules” narrative, claiming:

“A private investigative organization, True the Vote, purchased billions of cell

phone ‘pings’ and they identified this individual by tracking his cell phone pings to

multiple ballot drop boxes.” Echoing Defendants’ narrative, Cross’ complaint

alleged that so-called “ballot mules” were paid ten to fifteen dollars per ballot to

illegally deliver multiple ballots. Cross noted that the conduct of which he was



60
     For example, on January 31, 2022, TTV shared a video of a person depositing
     ballots in a drop box. The video was one of many Cross created and shared on
     his website and Rumble page showing people he alleged to be engaged in
     illegal ballot delivery. The caption read: “True the Vote would like to extend a
     special thank you to David Cross for being a great American. We deeply
     appreciate his work for free and fair elections in Georgia, it’s patriots like him
     that make this country great. This is just the beginning, get ready patriots.”
     True The Vote, True the Vote would like to extend a special thank you to David
     Cross for being a great American., Facebook (Jan. 31, 2022, 12:58 PM),
     https://www.facebook.com/TrueTheVote/videos/1103565933725389
     [https://perma.cc/S8EC-SJ8B]; @RealTrueTheVote, True the Vote would like
     to extend a special thank you to David Cross for being a great American.,
     Instagram (Jan. 31, 2022), https://www.instagram.com/p/CZZvNuMK6yi/
     [https://perma.cc/NF4H-VCML].

                                           33
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accusing Mr. Andrews was a “felony punishable by imprisonment for not less than

one year.” 61

       79.      Mr. Andrews became aware of the film and the allegations against

him on May 2, 2022, when an investigator with the GBI visited Mr. Andrews at

home. At that time, Mr. Andrews learned that the GBI had opened an investigation

into him following Cross’ complaint alleging that he engaged in illegal ballot

delivery during the 2020 election. 62 The GBI investigator interviewed

Mr. Andrews as part of a broader investigation into his family’s voting activities

triggered by the complaint. Mr. Andrews provided a voluntary statement

explaining that he had deposited ballots for family in his household.

       80.      Mr. Andrews only learned of the broader publicity and film after a

reporter for a national newspaper contacted him on or about May 16, 2022. The

reporter asked about the accusation in 2000 Mules that he had engaged in election

fraud and informed him that he was portrayed in the film as a ballot mule.

Mr. Andrews was shocked, upset, and afraid when he heard this. Until this time, he

was not aware of his portrayal in the film.




61
     David A. Cross, Official Complaint filed with Georgia State Election Board
     (Apr. 25, 2022).
62
     Ga. Code Ann. §§ 21-2-385(a), 21-2-603 (2020).

                                           34
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       81.    At this point, Mr. Andrews and his wife went online and viewed the

2000 Mules trailer and Defendant Engelbrecht’s appearance on Fox News that

included Mr. Andrews’ unblurred image, described above. They were not only

outraged, but also afraid for his safety, the safety of his family, and of professional

and legal consequences, even though he knew he had not broken any laws.

       82.    The following day, May 17, 2022, the Georgia State Elections Board

(SEB) held a public meeting during which they addressed the complaint and

allegations against Mr. Andrews.63 The GBI investigated Cross’ complaint and

fully cleared Mr. Andrews of any wrongdoing. At the hearing, which was open to

the public and live-streamed on the internet, a GBI investigator publicly and

unequivocally refuted the allegations that Mr. Andrews had engaged in illegal

“ballot harvesting” and instead had legally deposited the ballots of his wife and

three adult children. 64



63
     Mark Niesse, Georgia investigation dispels allegations highlighted in ‘2000
     Mules’, Atlanta Journal (May 17, 2022), https://www.ajc.com/politics/georgia-
     investigation-dispels-allegations-highlighted-in-2000-
     mules/DREWO27XXBF7PB4DGTBXWGQYV4/; State of Georgia, Agenda
     State Election Board, Office of Secretary of State (May 17, 2022),
     https://sos.ga.gov/sites/default/files/forms/Agenda.May_.17th.2022.pdf.
64
     State of Georgia, Summary State Election Board, Office of Secretary of State
     (May 17, 2022),
     https://www.sos.ga.gov/sites/default/files/forms/May%2017%20 Meeting% 20
     Summary.pdf.

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       83.   As the investigator at the May 17 SEB meeting detailed, the

investigation confirmed that there were five voters registered at the Andrews

residence—Mr. Andrews, his wife, and his three children—and that the state’s

internal ballot tracking system reflected that all five voters had requested ballots by

mail that were received in advance of election day.65

       84.   The investigator concluded: “I did not find anything to suggest a

violation of Georgia code”66 after explaining the methodologies underlying his

finding. The investigator explained that he “validated that . . . the five electors all

lived in that residence at that time making all those ballots legal ballots.”67 The

investigator further explained that he had independently conducted extensive

research before speaking with Mr. Andrews. Mr. Andrews’ statements were

consistent with Georgia voting records.

       85.   The investigation thus demonstrated that allegations of voter fraud

were baseless.




65
     Investigations Division Summary at 2, Case No. SEB2022-054, Georgia
     Secretary of State (May 12, 2022).
66
     Georgia House of Representatives, State Election Board, Vimeo (May 17,
     2022), https://vimeo.com/695911723.
67
     Id.

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       86.    The same day, the SEB dismissed the case without objection. The

dismissal received media coverage in local and national publications.68

       87.    During discussion of the case, Republican SEB Member Ed Lindsey

voiced concern about “some people also going out and publishing these allegations

and posting videos online or to other sources of people without a full

investigation.”69

       88.    When the GBI investigator confirmed that he had seen Defendants

publicize Mr. Andrews’ image on the Tucker Carlson Show along with his white

SUV, Mr. Lindsey then admonished those actors, like Defendants, who had spread

Mr. Andrews’ image and accused him of a crime without a real basis:

       Voter harvesting is a crime, claiming that someone is committing a
       crime without full investigation carries with it some legal liability as
       well, and I would like for folks who are simply doing, exercising their
       right to vote and exercise the right of their family to vote not to have an
68
     Matthew Brown & Amy Gardner, Georgia elections board dismisses
     allegations of ballot harvesting, Wash. Post (May 17, 2022, 2:19 PM),
     https://www.washingtonpost.com/politics/2022/05/17/georgia-elections-board-
     dismisses-ballot-harvesting-complaints; Mark Niesse, What 2000 Mules Leaves
     Out From Ballot Harvesting Claims, Atlanta Journal (May 10, 2022),
     https://www.ajc.com/politics/what-2000-mules-leaves-out-from-ballot-
     harvesting-claims/FFMNUU56RVBRNOLZKWHUREQPEU/; Mark Niesse,
     Georgia investigation dispels allegations highlighted in ‘2000 Mules’, Atlanta
     Journal (May 17, 2022), https://www.ajc.com/politics/georgia-investigation-
     dispels-allegations-highlighted-in-2000-
     mules/DREWO27XXBF7PB4DGTBXWGQYV4/.
69
     Georgia House of Representatives, State Election Board, Vimeo (May 17,
     2022), https://vimeo.com/695911723.

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       allegation thrown about and to simply ask folks to be a little more
       cautious in this day and age, to make sure that before you make those
       kind of allegations, that you turn over the claim to proper authorities
       and allow an investigation to take place before you publish it and
       perhaps bring into question someone’s good name. Just a cautionary,
       I think this is a cautionary tale here that I would like folks to
       observe in the future. 70
       89.    The accusations against Mr. Andrews—the same false accusations

that Defendants have spread and continue to spread—were proven false.

       C.     Defendants have known from the beginning that their claims
              about Mr. Andrews were false, or recklessly disregarded the
              truth.
       90.    From the beginning, Defendants knew of the falsity of their

statements about Mr. Andrews, and/or acted with reckless disregard as to the

falsity of those statements. That is, they acted with actual malice.

       91.    Upon information and belief, Defendants never had any means to

connect the public surveillance footage of Mr. Andrews to Defendants’ concocted

story about “ballot mules” based on cell phone location data. Indeed, Defendants

appear to lack video surveillance footage showing any individual making multiple

trips to drop boxes—undercutting the heart of their narrative.71


70
     Id.
71
     Tom Dreisbach, A Pro-Trump film suggests its data are so accurate, it solved a
     murder. That’s false, NPR (May 17, 2022, 4:05 PM),
     https://www.npr.org/2022/05/17/1098787088/a-pro-trump-film-suggests-its-
     data-are-so-accurate-it-solved-a-murder-thats-fals.

                                          38
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       92.    Following the 2020 election, and years before 2000 Mules’ release,

election officials, law enforcement, federal judges, and other experts consistently

and decisively rejected claims that mass voter fraud had swayed the election in

favor of President Biden.72

       93.    Undeterred by the lack of evidence of voter fraud, Defendants

resorted to contriving evidence of their own to push their false narrative.

Defendants falsely claimed that cell phone geolocation data conclusively proved



72
     Matt Zapotosky, Devlin Barrett & Josh Dawsey, Barr says he hasn’t seen fraud
     that could affect the election outcome, Wash. Post (Dec. 1, 2020, 7:58 PM),
     https://www.washingtonpost.com/national-security/barr-no-evidence-election-
     fraud/ 2020/12/01/5f4dcaa8-340a-11eb-8d38-6aea1adb3839_story.html;
     Siobhan Hughes, GOP Senate Leader McConnell Rejects Trump’s Fraud
     Claims, WSJ (Jan. 6, 2021, 1:55 PM),
     https://www.wsj.com/livecoverage/biden-trump-electoral-college-certification-
     congress/card/D3m1htBWKtXPl0Lv4tuB; Cybersecurity & Infrastructure
     Security Agency, Joint Statement From Elections Infrastructure Government
     Coordinating Council & the Election Infrastructure Sector Coordinating
     Executive Committees (Nov. 12, 2020),
     https://www.cisa.gov/news/2020/11/12/joint-statement-elections-infrastructure-
     government-coordinating-council-election; Nick Corasaniti, Reid J. Epstein &
     Jim Rutenberg, The Times Called Officials in Every State: No Evidence of
     Voter Fraud, N.Y. Times (Nov. 10, 2020, updated Nov. 6, 2021),
     https://www.nytimes.com/2020/11/10/us/politics/voting-
     fraud.html?action=click&module=Spotlight&pgtype=Homepage; Yelena
     Dzhanova, A Team of Republican lawyers, judges, and former senators
     reviewed dozens of lawsuits alleging voter fraud in the 2020 election and
     concluded there was none, Insider (July 16, 2022, 11:05 AM),
     https://www.businessinsider.com/gop-lawyers-reviewed-voter-fraud-lawsuits-
     presidential-election-2022-7.

                                          39
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that people (the “mules”) made multiple trips to ballot boxes to illegally deposit

ballots. In 2000 Mules, Defendants present surveillance footage, like that of

Mr. Andrews, as supposedly corroborating evidence of their claims about the

geolocation data.

       94.   Defendants’ reliance on cellular geolocation data to support their

mules narrative in and of itself shows a reckless disregard for the truth. It has been

well-demonstrated by multiple authorities that the type of geolocation data relied

upon by Defendants is not precise enough to determine whether an individual

deposited a ballot in a drop box.73 These authorities include the source of some of

the geolocation data itself (discussed below), as well as independent journalistic




73
     Reuters Fact Check, Fact Check-Does ‘2000 Mules’ provide evidence of voter
     fraud in the 2020 U.S. presidential election?, Reuters (May 27, 2022, 8:29
     AM), https://www.reuters.com/article/factcheck-usa-mules/fact-check-does-
     2000-mules-provide-evidence-of-voter-fraud-in-the-2020-u-s-presidential-
     election-idUSL2N2XJ0OQ; Rick Earle, Investigation exposes critical
     limitations of 911 emergency call system and cellphones, WPXI (Sept. 9, 2020,
     8:59 PM), https://www.wpxi.com/news/investigates/investigation-exposes-
     critical-limitations-911-emergency-call-system-
     cellphones/GXCYFYBJKJHRZBP53XBQYUQU2Y/; Ali Swenson, FACT
     FOCUS: Gaping holes in the claim of 2K ballot ‘mules’, AP News (May 3,
     2022), https://apnews.com/article/2022-midterm-elections-covid-technology-
     health-arizona-e1b49d2311bf900f44fa5c6dac406762; Mimi Swartz, How True
     the Vote Fabricates Claims of Election Fraud, for Fun and Profit, Texas
     Monthly (Aug. 22, 2022), https://www.texasmonthly.com/news-politics/true-
     the-vote-election-fraud/.

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sources including but not limited to Texas Monthly, The Associated Press, The

New York Times, The Washington Post, PolitiFact, and high-profile experts.

       95.   Moreover, Georgia’s ballot drop boxes in 2020 tended to be located in

high-traffic areas including shopping centers and public buildings. 74 According to

experts, “[t]he entirety of [Defendants’] claim rests on cell phone location data,

which doesn’t remotely show that people were actually using the drop boxes (it

doesn’t have the granularity to show that, as opposed to just walking or even

driving by) . . . .” 75 Another expert notes that cellphone geodata is: “not accurate

enough to tell if someone stopped at a ballot box, or if someone simply walked

near the box . . . . If it is a high-traffic area, I can think of any number of legitimate

reasons why someone would be in the vicinity of a ballot box.”76 Defendants have

recklessly disregarded these crucial facts and instead continue to assert

authoritatively—and falsely—that geolocation data proves that Mr. Andrews and

others engaged in mass election fraud.


74
     Reuters Fact Check, Fact Check-Does ‘2000 Mules’ provide evidence of voter
     fraud in the 2020 U.S. presidential election?, Reuters (May 27, 2022, 8:29
     AM), https://www.reuters.com/article/factcheck-usa-mules/fact-check-does-
     2000-mules-provide-evidence-of-voter-fraud-in-the-2020-u-s-presidential-
     election-idUSL2N2XJ0OQ.
75
     Id.
76
     Robert Farley, Evidence Gaps in ‘2000 Mules’, FactCheck (June 10, 2022,
     updated June 13, 2022), https://www.factcheck.org/2022/06/evidence-gaps-in-
     2000-mules/.

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       96.    Defendants have made other misrepresentations about the geolocation

data which they claimed buttressed their mules narrative. 77

       97.    For example, Defendants D’Souza and Phillips claimed that they used

geolocation data from the Armed Conflict Location & Event Data Project

(“ACLED”) to show that, in the Atlanta area, “dozens and dozens and dozens of

our mules” attended violent protests. According to the film, the data therefore

demonstrates that many mules are “violent criminals.” 78

       98.    But these claims are false. ACLED itself entirely disclaimed that its

data could be used for Defendants’ claims in 2000 Mules, with its leaders telling

National Public Radio (“NPR”): “This is not what we do,” and “[t]his is not the

type of analysis you can use ACLED data for . . . .” 79 For example, contrary to

Defendants’ claims, ACLED data does not include specific locations inside a city,


77
     Further, even the imagery used in the film to depict an alleged “mule” in
     Atlanta is misleading. A map that Defendants claim depict the path of a mule in
     Atlanta is not actually of Atlanta – a fact which Defendant Phillips admitted to
     a reporter who noted this. However, the claim that it’s a depiction of Atlanta
     remains in the film. Philip Bump, Even the geolocation maps in ‘2000 Mules’
     are misleading, Wash. Post (May 19, 2022, 2:33 PM, updated May 19, 2022,
     4:48 PM), https://www.washingtonpost.com/politics/2022/05/19/even-
     geolocation-maps-2000-mules-are-misleading/.
78
     Tom Dreisbach, A Pro-Trump film suggests its data are so accurate, it solved a
     murder. That’s false, NPR (May 17, 2022, 4:05 PM),
     https://www.npr.org/2022/05/17/1098787088/a-pro-trump-film-suggests-its-
     data-are-so-accurate-it-solved-a-murder-thats-fals.
79
     Id.

                                          42
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such as neighborhoods or city blocks, where protests took place. 80 Nor does

ACLED track the time of day of those incidents or track individual participants. 81

       99.    Defendants have likewise misrepresented their techniques for

analyzing this data in order to amplify their narrative. Defendants Engelbrecht and

Phillips have claimed that they used “high-powered computers” at “the High

Performance Computing Center on the campus of Starkville, Miss[issippi].” 82

       100. NPR investigated and determined that Phillips was referring to the

Portera High Performance Computing Center, which houses the High Performance

Computing Collaboratory at Mississippi State University in Starkville. However,

the University stated that it “has done zero analysis or computing on behalf of True

the Vote.” 83 According to the University, the closest that Defendant Phillips has

been to the computing center was a “publicly available tour.”84




80
     Id.
81
     Id.
82
     The Charlie Kirk Show, How They Did It - True the Vote’s Catherine
     Engelbrecht and Gregg Phillips on The Charlie Kirk Show, Rumble (Apr. 8,
     2022), https://rumble.com/v10ajh2-how-the-did-it-true-the-votes-catherine-
     engelbrecht-and-gregg-phillips-on-t.html [perma.cc/WAT2-9QFQ].
83
     Tom Dreisbach, A Pro-Trump film suggests its data are so accurate, it solved a
     murder. That’s false, NPR (May 17, 2022, 4:05 PM),
     https://www.npr.org/2022/05/17/1098787088/a-pro-trump-film-suggests-its-
     data-are-so-accurate-it-solved-a-murder-thats-fals.
84
     Id.

                                         43
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       101. In addition to these misrepresentations about geolocation data in 2000

Mules, Defendants also misrepresented video evidence to prop up their baseless

narrative. 2000 Mules features surveillance footage, like that of Mr. Andrews,

claiming to show visual evidence of “mules” allegedly illegally depositing ballots,

allegedly connected to geolocation data that demonstrates that these individuals are

“mules.” But upon information and belief, Defendants never had any means to

connect this video footage of voters such as Andrews with their individualized cell

phone geolocation data. In fact, ACLED has explained that it is not possible to

connect this data to individual phones. 85

       102. Moreover, Defendants appear to lack any surveillance footage that

actually shows any individual depositing ballots at multiple locations.86

       103. In a May podcast episode, Defendant D’Souza admitted he and the

other defendants had yet to release such footage, conceding, “we didn’t [release

footage of a mule visiting multiple drop boxes] in the movie.”87 Defendant




85
     Id.
86
     Id.
87
     The Dinesh D’Souza Podcast, Critiques and Rebuttals (May 19, 2022, 1:35
     PM), https://podcasts.apple.com/us/podcast/critiques-and-
     rebuttals/id1547827376?i=1000562605416.

                                             44
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D’Souza claimed: “I am going to do that and True the Vote is going to do that,” 88

but as of October 25, Defendants had not released any such footage.

       104. When Defendants Phillips and Engelbrecht appeared at an August

2022 event at which they had promised to share their key evidence supporting the

“mules” narrative that was not in the film, they showed up empty-handed and

incredibly claimed that they must have been hacked.89 Phillips told attendees they

could pay to view additional footage on his website. He also described the video on

his website—the purported key evidence—as: “It is junk. It is trash. They didn’t do

a good job,” adding eventually: “Once you get into that video, it’s nonsense,

complete nonsense.” 90

       105. At times, Defendants even appear to have acknowledged that their

assertions are baseless (and therefore made with actual malice). For example,



88
     Id.
89
     Matt Shuham, WATCH: The Moment When The ‘2,000 Mules’ Folks Admit
     Their Supposed Evidence Is Nonsense, TPM (Aug. 16, 2022, 4:21 PM),
     https://talkingpointsmemo.com/news/watch-the-moment-when-the-2000-
     mules-folks-admit-their-supposed-evidence-is-nonsense; Philip Bump, Another
     year, another high-profile voter-fraud summit goes bust, Wash. Post (Aug. 15,
     2022, 1:37 PM), https://www.washingtonpost.com/politics/2022/08/15/trump-
     voter-fraud-2020-election/.
90
     Matt Shuham, WATCH: The Moment When The ‘2,000 Mules’ Folks Admit
     Their Supposed Evidence Is Nonsense, TPM (Aug. 16, 2022, 4:21 PM),
     https://talkingpointsmemo.com/news/watch-the-moment-when-the-2000-
     mules-folks-admit-their-supposed-evidence-is-nonsense.

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Defendants’ 2000 Mules website includes a reference to “fact checkers” being

wrong—and attempts to counter this by illogically stating that viewers indicated

they were persuaded by the film.91

       106. As early as May 13, 2022, Defendant D’Souza recognized that “fact-

checkers” had debunked the reliability of geolocation data—admitting his own

awareness about the falsity of the accusation, or at a minimum, his reckless

disregard for the truth: 92




       107. There is no evidence that the CDC is tracking people to see if they

remain six feet apart to social distance, and Defendant D’Souza’s baseless




91
     2000 Mules, https://2000mules.com/ (last visited Sept. 30, 2022).
92
     Dinesh D’Souza (@DineshDSouza), Twitter (May 13, 2022, 7:19 AM),
     https://twitter.com/DineshDSouza/status/1525073340486008832;
     [perma.cc/KT4B-T2PN].

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assertion about the CDC further demonstrates that he was, at a minimum, reckless

in continuing to advance the 2000 Mules narrative.

       108. Moreover, as early as September 2021, the GBI informed Defendants

that their geolocation data was insufficient evidence to support an investigation.

The TTV Defendants requested that the GBI investigate its claims of ballot

harvesting based on TTV’s geolocation data. In September 2021, the GBI informed

Defendant TTV in a letter that they lacked credible evidence to support an

investigation, explaining that Defendants had failed to “provide[] . . . any other

kind of evidence that ties these cellphones to ballot harvesting.” 93

       109. Defendants have also shown that they lack any credible basis for their

false allegations by failing to provide such evidence to law enforcement when

requested—leading to an inference that Defendants do not have any such evidence.

       110. For example, in a letter to Defendant Phillips and others, then-GBI

Director D. Victor Reynolds wrote that “there are no statements of witnesses and

no names of any potential defendants to interview.” 94 Reynolds further noted:


93
     Mark Niesse & Greg Bluestein, GBI chief: Not enough evidence to pursue
     GOP’s ballot fraud claim, Atlanta Journal (Oct. 21, 2021),
     https://www.ajc.com/politics/gbi-chief-not-enough-evidence-to-pursue-gops-
     ballot-fraud-claim/YLBIKVC6OZFG7D3QIXR54UFPWU/.
94
     Stephen Fowler (@stphnfwlr), Twitter (Oct. 21, 2021, 6:10 PM),
     https://twitter.com/stphnfwlr/status/1451309892824936452?ref_src=twsrc%
                                                                                 (cont’d)


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“Saliently, it has been stated that there is ‘a source’ that can validate ballot

harvesting. Despite repeated requests that source has not been provided to either

the GBI or the FBI.” 95 Defendant TTV has refused to cooperate with Georgia’s

election investigations, rejecting a request to disclose the names of people who

they claim “harvested” ballots.96

       111. Similarly, in Arizona, the TTV Defendants presented their “mules”

narrative in May 2022, and claimed they would provide additional data and

evidence in support to the Attorney General’s Office. However, the TTV

Defendants have reportedly ignored repeated requests for that evidence by

Arizona’s Republican Attorney General Mark Brnovich, while continuing to claim

that they had extensive geolocation data evidence of election fraud that they would

soon provide.97 Indeed, on October 14, 2022, Brnovich’s office sent a letter to the


     5Etfw%7Ctwcamp%5Etweetembed%7Ctwterm%5E1451309892824936452%
     7Ctwgr%5E631f4fa1f292e2f7e055a86ede8fbda728c0e6b7%7Ctwcon%5Es1_
     &ref_url=https%3A%2F%2Fwww.gpb.org%2Fnews%2F2021%2F10%2F22%
     2Fgbi-says-gops-cellphone-data-lacks-enough-evidence-prove-ballot-
     harvesting.
95
     Id.
96
      Mark Niesse, What 2000 Mules Leaves Out From Ballot Harvesting Claims,
     Atlanta Journal (May 10, 2022), https://www.ajc.com/politics/what-2000-
     mules-leaves-out-from-ballot-harvesting-
     claims/FFMNUU56RVBRNOLZKWHUREQPEU/.
97
     Jeremy Duda, “2000 Mules” group ignored Arizona AG’s requests, Axios
     (Sept. 2, 2022), https://www.axios.com/local/phoenix/2022/09/02/2000-mules-
     group-ignored-arizona-ags-requests-info.

                                           48
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FBI and IRS noting that TTV had never provided any information, but had lied in

public communications and to another law enforcement agency that it had.98 Given

that the organization was conducting extensive fundraising off of this lie, the letter

noted “further review of its financials may be warranted.” 99

      112. Prominent Republicans and allies of former President Trump have

also publicly rejected the “mules” narrative.100 For example, in videotaped

testimony before the House Select Committee to Investigate the January 6th Attack

on the United States Capitol made public on June 13, 2022, former Attorney

General William Barr laughed when referencing 2000 Mules, noting that it had not



98
    Jeremy Duda (@jeremyduda), Twitter (Oct. 14, 2022, 8:03 PM),
    https://twitter.com/jeremyduda/status/1581073342257242112?s=46&t=8TKaS-
    IAdIk_BgiDBmQW1w. The letter also debunked two other lies by the TTV
    Defendants: that they had caught a person who had delivered multiple ballots in
    San Luis, Arizona, and that they had helped solve a murder in Atlanta.
99
    Id.
100
    Ann Coulter, Dinesh’s Stupid Movie: And the grift goes on …, Substack (June
    15, 2022, 1:30 PM), https://anncoulter.substack.com/p/dineshs-stupid-
    movie?s=rI; Khaya Himmelman, Fact Checking Dinesh D’Souza’s ‘2,000
    Mules’: The film’s ballot harvesting theory is full of holes., The Dispatch Fact
    Check (May 21, 2022), https://factcheck.thedispatch.com/p/fact-checking-
    dinesh-dsouzas-2000; Amanda Carpenter, Dinesh D’Souza’s 2000 Mules Is a
    Hilarious Mockumentary, Bulwark (May 17, 2022, 5:14 AM),
    https://www.thebulwark.com/dinesh-dsouzas-2000-mules-is-a-hilarious-
    mockumentary/; Danny Hakim & Alexandra Berzon, A Big Lie in a New
    Package, N.Y. Times (May 29, 2022, updated June 8, 2022),
    https://www.nytimes.com/2022/05/29/us/politics/2000-mules-trump-
    conspiracy-theory.html.

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changed his conclusion that there was no widespread fraud in the 2020 election. 101

Barr detailed why he found the film unconvincing, including the unreliability of

cellphone data, and deemed the photographic evidence “lacking.” 102

       113. Right-wing commentator Ann Coulter debunked 2000 Mules in a

detailed post on her “Unsafe” blog, citing geolocation data experts. She explained:

       First, the movie doesn’t show what it says it shows.
        – Cellphone tracking isn’t precise enough to distinguish between
       liberal activists stuffing drop boxes, and store owners, police officers,
       delivery men and others who have perfectly legitimate reasons to be
       within a few yards of the same drop box every day.

        – In all five battleground states D’Souza considers, it is perfectly legal
       for third parties to drop off ballots for others, with varying degrees of
       lenience. Pennsylvania, for example, allows a grandparent, grandchild,
       uncle, aunt, niece, nephew, in-law, household member, caregiver or
       jailer to drop off someone else’s ballot.
        – Even if every cellphone dot represented a left-wing organizer
       illegally dropping off another person’s ballot, that still wouldn’t make
       the ballot invalid. A legal ballot can be illegally delivered, although the
       guy who delivered it might be in trouble. 103

101
    Grace Panetta, Former AG Bill Barr laughs at Dinesh D’Souza’s election
    conspiracy theory film ‘2000 Mules’ in January 6 Committee deposition,
    Insider (June 13, 2022, 1:16 PM), https://www.businessinsider.com/bill-barr-
    mocks-2000-mules-film-january-6-deposition-video-2022-6.
102
    Id.; January 6 Hearings, Second Hearing on Investigation of January 6 Attack
    on the U.S. Capitol, C-Span (June 13, 2022), https://www.c-
    span.org/video/?520804-1/hearing-investigation-capitol-attack.
103
    Ann Coulter, Dinesh’s Stupid Movie: And the grift goes on …, Substack (June
    15, 2022, 1:30 PM), https://anncoulter.substack.com/p/dineshs-stupid-
    movie?s=rI.

                                           50
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She also detailed how in her view, Trump’s 2020 loss did not “cr[y] out for

an explanation,” based on his poor polling and failure to keep campaign

promises.104

       114. Additionally, conservative commentator Ben Shapiro noted: “I think

the conclusions of the film are not justified by the premises of the film itself. There

are a bunch of dots that need to be connected.”105

       115. Defendants were aware of the evidence debunking their narrative and

of the widely publicized rejection of their lies, further supporting the conclusion

that they had knowledge of the falsity of their statements or recklessly disregarded

the truth.

       116. For example, when Mr. Barr’s testimony became public, Defendant

Engelbrecht appeared on a podcast and stated that she was aware of Mr. Barr’s

rejection of the “mules” narrative, and was “disappointed.”106 Nonetheless, she has




104
    Id.
105
    Ben Shapiro, Ben Shapiro REACTS To The “2000 Mules” Documentary,
    YouTube (May 10, 2022),
    https://www.youtube.com/watch?v=BnYWx2Ozahk.
106
    Zachary Leeman, ‘We’re Coming for You, Bro!’ Steve Bannon Loses it on Bill
    Barr After Jan. 6 Hearings, MEDIAite (June 14, 2022, 10:02 AM),
    https://www.mediaite.com/politics/were-coming-for-you-bro-steve-bannon-
    loses-it-on-bill-barr-after-jan-6-hearings/.

                                          51
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continued to repeat the false allegations. Defendant D’Souza was also aware of Mr.

Barr’s rejection, and the debunking on which he relied. 107

       117. Additionally, Fox News and Newsmax—historically supporters of

former President Trump—appear to have declined to promote the film. When

Defendant Engelbrecht appeared on Tucker Carlson alongside the unblurred clip of

Mr. Andrews, she carefully avoided mentioning the film itself. Defendant D’Souza

himself noted those networks’ decision was likely due to concerns that 2000 Mules

would expose them to further legal liability beyond the defamation litigation they

are already facing for spreading other lies about the 2020 election being stolen.108


107
    Dinesh D’Souza (@DineshDSouza), Twitter (June 13, 2022, 12:02 PM),
    https://twitter.com/DineshDSouza/status/1536378544254644224.
108
    Yelena Dzhanova, Trump Rails Against Fox News, saying the network hasn’t
    aired a movie alleging widespread voter fraud in the 2020 election, Insider
    (May 15, 2022, 8:50 AM), https://www.businessinsider.com/trump-rails-
    against-fox-news-not-airing-2000-mules-movie-2022-5?r=US&IR=T; Justin
    Baragona, Fox News Anchor Rebukes GOP Rep. for Promoting D’Souza’s
    Batshit Movie, Daily Beast (May 29, 2022, 12:18 PM),
    https://www.thedailybeast.com/fox-news-anchor-sandra-smith-rebukes-mo-
    brooks-for-pushing-dinesh-dsouza-movie-2000-mules; Dinesh D’Souza
    (@DineshDSouza), Twitter (May 12, 2022, 9:00 AM),
    https://twitter.com/DineshDSouza/status/1524736307024609283
    [perma.cc/9LRB-S3B3]; Dinesh D’Souza (@DineshDSouza), Twitter (June 30,
    2022, 8:47 AM),
    https://twitter.com/DineshDSouza/status/1542489989551898626
    [perma.cc/QZ84-8XKX]; Dinesh D’Souza (@DineshDSouza), Twitter (May 9,
    2022, 10:47 AM),
    https://twitter.com/DineshDSouza/status/1523676024336424960
                                                                                (cont’d)


                                         52
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      118. Defendant D’Souza thus demonstrated that he had actual knowledge

that the statements in 2000 Mules and the trailer for it are baseless enough to

potentially subject publishers to liability.109


    [perma.cc/A2ZL-FUP4]; Dinesh D’Souza (@DineshDSouza), Twitter (May 9,
    2022, 9:40 AM),
    https://twitter.com/DineshDSouza/status/1523659231341461504
    [perma.cc/ZX8D-GHUD]; Adam Staten, D’Souza Targets Fox News, Says
    Network Banning Mention of ‘2000 Mules’, Newsweek (May 12, 2022, 10:57
    AM), https://www.newsweek.com/dsouza-targets-fox-news-says-network-
    banning-mention-2000-mules-1706047.
109
    Dinesh D’Souza (@DineshDSouza), Twitter (May 12, 2022, 9:00 AM),
    https://twitter.com/DineshDSouza/status/1524736307024609283
    [perma.cc/9LRB-S3B3]; Yelena Dzhanova, Trump Rails Against Fox News,
    saying the network hasn’t aired a movie alleging widespread voter fraud in the
    2020 election, Insider (May 15, 2022, 8:50 AM),
    https://www.businessinsider.com/trump-rails-against-fox-news-not-airing-
    2000-mules-movie-2022-5?r=US&IR=T; Dinesh D’Souza (@DineshDSouza),
    Twitter (June 30, 2022, 8:47 AM),
    https://twitter.com/DineshDSouza/status/1542489989551898626
    [perma.cc/QZ84-8XKX]; Dinesh D’Souza (@DineshDSouza), Twitter (May 9,
    2022, 10:47 AM),
    https://twitter.com/DineshDSouza/status/1523676024336424960
                                                                                  (cont’d)


                                            53
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      D.    Defendants were aware of the May 17, 2022, public clearing of
            Mr. Andrews.
      119. In addition to Defendants’ knowledge and/or reckless disregard of the

truth from the beginning that their “evidence” of the “mules” conspiracy was a

sham and that their allegations of criminality against Mr. Andrews were baseless,

Defendants had actual knowledge of the May 17, 2022, public clearing of

Mr. Andrews by the GBI and SEB.

      120. Defendant D’Souza was aware that Mr. Andrews had acted legally at

least by May 18, 2022. On the May 18 episode of “The Dinesh D’Souza Podcast,”

Defendant D’Souza mentions having read his own exchange with a reporter in the

Washington Post.110 That article states: “On Tuesday, the state elections board

dismissed related complaints,”111 referencing 2000 Mules, and links to a separate


    [perma.cc/A2ZL-FUP4]; Dinesh D’Souza (@DineshDSouza), Twitter (May 9,
    2022, 9:40 AM),
    https://twitter.com/DineshDSouza/status/1523659231341461504
    [perma.cc/ZX8D-GHUD]; Adam Staten, D’Souza Targets Fox News, Says
    Network Banning Mention of ‘2000 Mules’, Newsweek (May 12, 2022, 10:57
    AM), https://www.newsweek.com/dsouza-targets-fox-news-says-network-
    banning-mention-2000-mules-1706047.
110
    D’Souza Media, Episode 333: Unlawful Conduct,
    https://dineshdsouza.com/podcast/episode-333-unlawful-conduct/ (last visited
    Sept. 30, 2022).
111
    Philip Bump, Discussing the gaps in ‘2000 Mules’ with Dinesh D’Souza,
    Wash. Post (May 17, 2022, 4:27 PM),
    https://www.washingtonpost.com/politics/2022/05/17/discussing-gaps-2000-
    mules-with-dinesh-dsouza.

                                         54
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Washington Post article detailing the dismissal of the allegations against

Mr. Andrews. 112

       121. In the same podcast episode, D’Souza refers to an Atlanta Journal-

Constitution article specifically about the SEB’s dismissal of the complaint against

Mr. Andrews. 113

       122. The TTV Defendants were also aware at least by May 17, 2022, that

the allegations against Mr. Andrews were false because the Washington Post

contacted them for comment on a story about the GBI finding the claims about

Mr. Andrews to be false. In a May 17 Washington Post article, Defendant Phillips

went so far as to acknowledge the falsity of Defendants’ portrayal of Mr. Andrews

when confronted with the facts of the GBI investigation, admitting of

Mr. Andrews: “That’s not a mule to us.”114 Defendant Engelbrecht provided no

comment.


112
    Matthew Brown & Amy Gardner, Georgia elections board dismisses
    allegations of ballot harvesting, Wash. Post (May 17, 2022, 2:19 PM),
    https://www.washingtonpost.com/politics/2022/05/17/georgia-elections-board-
    dismisses-ballot-harvesting-complaints.
113
    Mark Niesse, Georgia investigation dispels allegations highlighted in ‘2000
    Mules’, Atlanta Journal (May 17, 2022), https://www.ajc.com/politics/georgia-
    investigation-dispels-allegations-highlighted-in-2000-
    mules/DREWO27XXBF7PB4DGTBXWGQYV4/.
114
    Matthew Brown & Amy Gardner, Georgia elections board dismisses
    allegations of ballot harvesting, Wash. Post (May 17, 2022, 2:19 PM),
                                                                              (cont’d)


                                         55
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      123. Yet, in the weeks and months that followed, Defendant Phillips and

the other Defendants have continued to advance the false claim that Mr. Andrews

is a “mule” who committed crimes, as detailed more fully below. The TTV

Defendants have never retracted their statements about Mr. Andrews, and their

social media still contains promotion for 2000 Mules, as well as interviews in

which Defendant Phillips repeats his lies about Mr. Andrews.115

      124. In fact, while Defendants have continued to promote the film, the

trailer for the film, and promotional links remain on TTV’s website and social

media, the TTV Defendants have at the same time attempted to distance

themselves from D’Souza’s subsequent book that expands on the claims in 2000

Mules. 116


    https://www.washingtonpost.com/politics/2022/05/17/georgia-elections-board-
    dismisses-ballot-harvesting-complaints.
115
    Further, during a May 31 public presentation, Defendant Phillips sat alongside
    Engelbrecht and claimed that his “method” did not have false positives. True
    the Vote shared footage of other parts of this presentation on their website.
    True The Vote, Facebook, https://www.facebook.com/TrueTheVote (last
    visited Oct. 1, 2022); True the Vote, Arizona Senate Hearing May 31, 2022,
    Rumble (June 1, 2022), https://rumble.com/v16z0k3-arizona-senate-hearing-
    may-31-2022.html; True the Vote, Bombshell Testimony from True the Vote at
    Arizona Joint Legislative Hearing (June 1, 2022),
    https://www.truethevote.org/bombshell-testimony-from-true-the-vote/.
116
    Tom Dreisbach, A publisher abruptly recalled the ‘2,000 Mules’ election
    denial book. NPR got a copy., NPR (Sept. 8, 2022, 12:44 PM),
    https://www.npr.org/2022/09/08/1121648290/a-publisher-abruptly-recalled-
    the-2-000-mules-election-denial-book-npr-got-a-cop.

                                        56
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        E.    Defendants continue to spread false accusations, despite
              knowledge of their falsity.
        125. Despite the GBI’s and SEB’s public and unequivocal demonstration

that Defendants’ claims about Mr. Andrews are false, Defendants have persisted in

their course of defamatory and intimidating conduct by continuing to make false

statements about Mr. Andrews, publicizing his image in order to promote their film

and its falsehoods, disseminating the trailer for the film, and distributing 2000

Mules without correction.

        126. Notwithstanding Defendant Phillips’ acknowledgment on May 17 to

the Washington Post that the portrayal of Mr. Andrews was false, his interviews

alongside Defendant Engelbrecht repeating the lie and promotions for 2000 Mules

remain on TTV’s website and social media pages.117


117
      True the Vote, “How They Did It”: The Charlie Kirk Show Features True the
      Vote Bombshell Election Integrity Revelations (Apr. 7, 2022),
      https://www.truethevote.org/the-charlie-kirk-show-features-true-the-vote/
      [https://perma.cc/5A62-U4J2]; @RealTrueTheVote, Special Thanks to Charlie
      Kirk, Instagram (Apr. 8, 2022), https://www.instagram.com/p/CcGy5Q2p8aC/
      [https://perma.cc/C69E-3EBV];
      True the Vote, Charlie Kirk Interviews True the Vote, Rumble (Apr. 13, 2022),
      https://rumble.com/v10ubu3-charlie-kirk-interviews-true-the-
      vote.html?mref=hsiwx&mrefc=2 [https://perma.cc/ZD2C-VHTJ]; True the
      Vote, ICYMI: Here’s our full interview with Charlie Kirk on the Charlie Kirk
      Show., Facebook,
      https://www.facebook.com/plugins/post.php?href=https%3A%2F%2Fwww.fac
      ebook.com%2FTrueTheVote%2Fposts%2Fpfbid038MbJziMYJ9GcNXgHRtyti
                                                                                (cont’d)


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      127. Despite Defendant D’Souza’s May 18 acknowledgment on his

podcast that the claims against Mr. Andrews had been refuted by the GBI and

dismissed by the SEB, he has continued to promote 2000 Mules across multiple

media. 118

      128. In fact, 2000 Mules’ public box office premiere was the weekend of

May 20, 2022—three days after the GBI publicly refuted the claims about

Mr. Andrews and the SEB dismissed the complaint against him.119 During opening

weekend, the film played in 415 theaters and made more than three quarters of a




    X2Wy2k44Z6vw1cFghWnJtfH9X3TPZytkov9THZG1GMTl&show_text=true
    &width=500 [https://perma.cc/D6TL-F8YJ] (last visited Sept. 30, 2022); True
    the Vote, ‘Local Insurgencies’: The Epoch Times Features Interview With True
    the Vote About Who Is Funding the Ballot Mules (May 14, 2022),
    https://ttvdevv.wpengine.com/the-epoch-times-interview-about-who-is-
    funding-the-ballot-mules/ [https://perma.cc/G6RG-BLU7]; True the Vote,
    Epoch Times_Obama Affiliated NGOs Poured Billions to Steal Elections,
    Rumble (May 13, 2022), https://rumble.com/v14no71-epoch-times-obama-
    affiliated-ngos-poured-billions-to-steal-elections.html?mref=hsiwx&mrefc=6
    [https://perma.cc/LP3R-B9NK]; True the Vote, News,
    https://www.truethevote.org/news/ (Oct. 13, 2022).
118
    Dinesh D’Souza (@DineshDSouza), Twitter (Sept. 20, 2022, 12:13 PM),
    https://twitter.com/DineshDSouza/status/1572257554348281856; Dinesh
    D’Souza (@DineshDSouza), Twitter (Sept. 9, 2022, 5:08 PM),
    https://twitter.com/DineshDSouza/status/1568345679637905408.
119
    Box Office Mojo, 2000 Mules,
    https://www.boxofficemojo.com/release/rl2915074817/?ref_=bo_tt_gr_1 (last
    visited Oct. 1, 2022).

                                        58
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million dollars.120 In total the film’s theatrical run has earned more than $1.4

million for the producers, including Defendants. 121

       129. Defendants have also continued to promote the film and its false

narrative—including using the trailer showing Mr. Andrews’ image as an example

of a mule—in an attempt to drive sales and spread their lies.

       130. For example, on May 21, 2022, Defendant D’Souza appeared on

OANN’s “Weekly Briefing with Chanel Rion” show. Alongside the TTV clip of

Mr. Andrews voting, Defendant D’Souza reiterated his false narrative: “a mule is a

paid operative who is delivering these fraudulent and illegal votes” to multiple

drop boxes. With Mr. Andrews’ image on screen (face blurred), Defendant

D’Souza claimed that there was widespread fraud during the 2020 election. 122

       131. This interview added additional material containing racist undertones

to Defendants’ assertions about Mr. Andrews. During the interview, the host,

Chanel Rion noted: “One of the things this film alludes to is the fact that some of

these mules may also be tied to violent leftwing actors or may be violent leftwing




120
    Id.
121
    Id.
122
    Media Matters, From the May 21, 2022, edition of OAN’s Weekly Briefing,
    https://www.mediamatters.org/media/3988753 (last visited Oct. 2, 2022).

                                          59
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actors who protested at the BLM [Black Lives Matter] riots over the summer of

2020.” 123 Defendant D’Souza responded, again making false statements:

       Out of 240 mules, 242 mules in Atlanta, something like 67 of them were
       in the violent antifa BLM riots. It doesn’t look to me like that’s likely
       to be a population of cops, it’s more likely that the Democrats, who by
       the way dominate these inner cities, basically went to these antifa
       BLM guys and said: “Look you’ve had enough fun burning cities
       and pulling people out of their cars and beating them up, why don’t
       we pay you to do a different kind of operation that might help our
       guys to get to the White House.” 124
       132. Mr. Andrews has never been part of any “violent antifa riot.”

       133. On May 17, 2022, Defendant D’Souza appeared on OANN’s Real

America with Dan Ball.125 He shared the 2000 Mules trailer in its entirety,

including the clip of Mr. Andrews voting with Defendant D’Souza’s voiceover

describing it as “evidence” of an organized crime scheme.126

       134. Later in the May 17 interview, while discussing the purported fraud

scheme, he again played the TTV clip of Mr. Andrews voting, while the host asked




123
    Chanel Rion OAN (@ChanelRion), Twitter (May 23, 2022, 2:59 PM),
    https://twitter.com/ChanelRion/status/1528812903494819842.
124
    Id.
125
    One America News Network, Real America – Dan Ball w/ Dinesh D’Souza,
    Everyone Needs to Watch 2,000 Mules, Rumble (May 17, 2022),
    https://rumble.com/v1548vv-real-america-dan-ball-w-dinesh-dsouza-everyone-
    needs-to-watch-2000-mules-51.html.
126
    Id.

                                          60
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about “ballot stuffers” making five to ten dollars per ballot. 127 In the same

interview, Defendant D’Souza seemed to acknowledge that the GBI had publicly

cleared Mr. Andrews that morning, while still falsely asserting that Mr. Andrews

was a “mule.” D’Souza commented that “fact checkers”—presumably referring to

the GBI investigation—were incorrect, referencing the finding that Mr. Andrews

was legally dropping off his family members’ ballots:

        It’s really hard to argue, because when you look at what the fact
        checkers are saying, it doesn’t really square with what’s in the film. So
        they’ll say things like, well, you know, in Georgia, people are allowed
        to return ballots for their family members. That’s true, but if you’re
        returning ballots for your family members, why would you go to more
        than one drop box? You’d go to one to drop them off, you go home.
        We’re looking at mules that went to a minimum of ten drop boxes. And,
        as you know, if you’ve seen that video in the film . . . .

        135. This interview indicates that Defendant D’Souza knew of the GBI

investigation’s findings, but nonetheless falsely stated that Mr. Andrews would not

have been depicted in the film if he had not been to at least ten drop boxes. In fact,

Mr. Andrews went to one drop box on one occasion to deposit his family’s ballots.

        136. On May 23, 2022, Defendant D’Souza also appeared on “KUSI

News” on San Diego channel KUSI. 128 Mr. Andrews’ image was shown (with his


127
      Id.
128
      KUSI Newsroom, Dinesh D’Souza on the success of his new film, ‘2000
      Mules’, Kusi (May 23, 2022), https://www.kusi.com/dinesh-dsouza-on-the-
                                                                                    (cont’d)


                                           61
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face blurred) as Defendant D’Souza described 2000 Mules as “damning

evidence”—again falsely portraying the image of Mr. Andrews as evidence of the

election fraud scheme. 129 The TTV clip of Mr. Andrews voting was shown a

second time as Defendant D’Souza spoke about how the purported “mules” wore

gloves to avoid leaving fingerprints.130 He explained the scheme:

      These mules are paid operators who deliver illegal and fraudulent votes
      to mail-in drop boxes and by monitoring the movement of their phones,
      you can show these guys go from one drop box to another to another to
      another and track their movements in the crucial weeks leading up to
      the election.131
      137. Defendant D’Souza elaborated that the “mules” were paid ten dollars

per ballot. He further claimed that the filmmakers “set a very high bar, because you

don’t want to get false positives” for deeming a person a mule: “ten or more drop

boxes, because there’s no rational or innocent reason to go to more than ten. Even

if you’re dropping off the votes of your family members, you’re going to go to one

drop box and put them all in there, why would you go to ten?” 132 These statements

again indicate that Defendant D’Souza was aware that the GBI had investigated


    success-of-his-new-film-2000-
    mules/?fbclid=IwAR3LB8eLsSXx0xKeLxQvaNnYn84JdbN6tiSQaQ7c0rkmV
    TZGQRcvwRaGUE4.
129
    Id.
130
    Id.
131
    Id.
132
    Id.

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and found that Mr. Andrews was dropping off his family members’ ballots–but

continued to lie about him anyway.

       138. On June 18, 2022, a Twitter user retweeted a video of the SEB

presentation with a caption questioning Defendant D’Souza’s false narrative.133

Defendant D’Souza replied to the tweet that day, calling the investigation “bogus”

because the investigator got his information from “the mule himself,” referring to

Mr. Andrews. He omitted that the GBI investigator made clear he had conducted

additional research. Defendant D’Souza was clearly aware of the investigation’s

findings, yet continued to baselessly accuse Mr. Andrews of being a “mule.”

       139. On June 3, 2022, more than two weeks after the SEB dismissed the

complaint against Mr. Andrews, Facts Matter with Roman Balmakov, the Epoch

Times show, aired an interview with Defendants Engelbrecht and Phillips. 134

TTV’s clip of Mr. Andrews was shown as Mr. Balmakov introduced Defendants

Engelbrecht and Phillips and their false narrative.




133
    Dinesh D’Souza (@DineshDSouza), Twitter (June 18, 2022, 1:26 PM),
    https://twitter.com/DineshDSouza/status/1538211490741772289
    [perma.cc/7PBM-9224].
134
    Roman Balmakov, Facts Matter, Exclusive: Ballot Mules Funded by Obama-
    Linked NGOs Pouring Billions Into ‘Local Insurgencies’, YouTube (June 3,
    2022), https://www.youtube.com/watch?v=LoRp9PpiNQE
    [https://perma.cc/9UCC-LQMK].

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       140. More recently, Defendant D’Souza himself has appeared to recognize

that 2000 Mules—and using Mr. Andrews’ image as an example of a mule—

exposes Defendants to liability. During a June 29, 2022, podcast, Defendant

D’Souza explained that he blurred the faces of Mr. Andrews and the other

individuals in the film to comply with lawyers’ demands and to get “movie

insurance.”135 Nonetheless, Defendants have used Mr. Andrews’ unblurred image

in multiple other instances, including to promote the film on national television.

       141. Defendants have continued to promote the film on social media and

on their websites following the GBI and other debunking of its lies. 136




135
    The Dinesh D’Souza Podcast, Blurring the Dog (June 29, 2022, 1:32 PM),
    https://podcasts.apple.com/us/podcast/blurring-the-dog/id1547827376?i=
    1000568148724.
136
    E.g., Dinesh D’Souza (@DineshDSouza), Twitter (Aug. 20, 2022, 6:28 PM),
    https://twitter.com/DineshDSouza/status/1561117901385568257; Dinesh
    D’Souza (@DineshDSouza), Twitter (Sept. 6, 2022, 4:39 PM),
    https://twitter.com/DineshDSouza/status/1567251267696590850; True the
    Vote, 2000 Mules Team Launches New ‘Sheriffs Initiative’, Facts Matter (June
    29, 2022), https://www.truethevote.org/2000-mules-team-launches-new-
    sheriffs-initiative-facts-matter/; Gregg Phillips (@greggphllips), Truth Social
    https://truthsocial.com/@greggphillips (last visited Oct. 10, 2022); True the
    Vote (@truethevote), Truth Social (Sept. 13, 2022),
    https://truthsocial.com/@truethevote/posts/108473455140392389; True The
    Vote, We had so many great people tune in Monday, Facebook (May 25, 2022),
    https://www.facebook.com/photo.php?fbid=378648854299239&set=pb.100064
    623822609.-2207520000..&type=3.

                                         64
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      142. In total, Defendants have appeared on at least eleven different

programs spreading their false claims about Mr. Andrews and the 2020 election. At

least three of these programs were after the May 17 public clearing of

Mr. Andrews. These television programs alone reached well over 3.2 million

viewers.

      143. Defendants also disseminated Mr. Andrews’ image and the

accusations against him on multiple social media platforms—through trailers for

2000 Mules and clips of Defendants’ media appearances that included

Mr. Andrews’ image—that have been viewed over 5.8 million times.

      144. In addition to the promotional appearances and trailer, the film itself

showed in 415 theaters over just its opening weekend in May 2022. According to

Defendant Salem Media, within the first two weeks, it was viewed by over a

million people and generated over 10 million dollars in revenue.

      145. This is in addition to the continued presence of the 2000 Mules film,

its trailer (including unblurred footage of Mr. Andrews and asserting that he

committed election fraud crimes), and other promotional materials for the film, all

available on Defendants’ websites and social media pages.




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        146. As a foreseeable and intended result of Defendants’ coordinated press

tour to promote 2000 Mules, others have repeated their claims and publicized

Mr. Andrews’ image in concert with these false allegations.137

        147. Defendants continue to republish their false narrative at the expense of

innocent Americans, including Mr. Andrews and his family, despite their

knowledge of its falsity or recklessness with respect to its falsity.

        F.     Defendants have profited and continue to attempt to profit from
               their false accusations against Mr. Andrews.


137
      For example, the Republican nominee for Arizona governor appeared on “Real
      America’s Voice” to comment on a TTV presentation. She showed the
      unblurred image of Mr. Andrews, as well as his car and license plate, as she
      echoed Defendants’ claims. John Fredericks, Outside the Beltway, Kari Lake
      on the True the Vote Hearing in the AZ State Senate, Real America’s Voice,
      https://americasvoice.news/kari-lake-on-the-true-the-vote-hearing-in-the-az-
      state-senate/ (last visited Sept. 30, 2022); Outside the Beltway, Kari Lake on
      the True the Vote Hearing in the AZ State Senate, Rumble (June 1, 2022),
      https://rumble.com/v170zjd-kari-lake-on-the-true-the-vote-hearing-in-the-az-
      state-senate.html; Beau Davidson, Can 2000 Mules Change an Election?, NTD
      (May 12, 2022), https://www.ntd.com/can-2000-mules-change-an-
      election_778513.html; Roman Balmakov, Facts Matter, Exclusive: Ballot
      Mules Funded by Obama-Linked NGOs Pouring Billions Into ‘Local
      Insurgencies’, YouTube (June 3, 2022),
      https://www.youtube.com/watch?v=LoRp9PpiNQE [perma.cc/9UCC-LQMK];
      Americas Best Pics, Stolen Election? It Appears So - Trump Wins Just By
      Removing the Worst Offenders [2000 Mules],
      https://americasbestpics.com/video/stolen-election-it-appears-so-trump-wins-
      just-by-removing-QbrsD4YX9 (last visited Sept. 30, 2022); The Salty Cracker,
      Carpet Bomb Normies 2000 Mules ReeEEeE Stream 05-11-22, Rumble (May
      11, 2022), https://rumble.com/v14e37k-carpet-bomb-normies-2000-mules-
      reeeeee-stream-05-11-22.html.

                                           66
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        148. That Defendants acted with actual malice is also demonstrated by the

fact that their invention and propagation of the “mules” lie was a money-making

scheme to enrich themselves at the expense of innocent voters, like Mr. Andrews,

and of our democratic institutions.

        149. Defendants made their false and defamatory statements at least in part

to sell movie theater tickets, DVDs, streams of the film, and subscriptions to their

other platforms in order to reward themselves financially. Defendants appropriated

Mr. Andrews’ likeness in a widely circulated commercial for 2000 Mules in an

attempt to drive sales.

        150. Defendants released 2000 Mules in theaters first by renting out

theaters and selling tickets themselves, and then formally releasing it on May 20,

2022, after the GBI had debunked the lies about Mr. Andrews. Defendants are

currently selling streams and DVDs of the film for $19.99 to purchase or $14.99 to

rent.138 Defendant D’Souza also offers access to 2000 Mules via streaming to

anyone who buys a subscription to his account on locals.com—a platform that


138
      2000 Mules, https://2000mules.com/ (last visited Sept. 30, 2022); 2000 Mules,
      SalemNOW, https://watch.salemnow.com/series/xFOCFe59zfCS-2000-mules
      (last visited Oct. 2, 2022). This is a discount from the original $29.99 price.
      Dinesh D’Souza, Back by Popular DEMAND! 2000 Mules in Theaters THIS
      WEEK, Rumble (May 16, 2022), https://rumble.com/v15083x-back-by-
      popular-demand-2000-mules-in-theaters-this-week.html [perma.cc/65CB-
      5FYJ].

                                           67
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enables people to start a “subscription-based community” to “make money directly

from their supporters.” 139

       151. As of June, 2000 Mules was 2022’s highest-earning “documentary,”

according to a trade publication.140 Defendant Salem Media reported on its August

2022 quarterly earnings call that within two weeks of the film’s release, more than

a million people had seen it and it had generated $10 million in revenue.141

       152. The film’s website, 2000mules.com, includes a prominent box

explaining that to screen the movie, one should purchase a DVD and then mail a

check for $5 per person who attends the screening to an LLC “C/O” Defendant




139
    Dinesh D’Souza, Back by Popular DEMAND! 2000 Mules in Theaters THIS
    WEEK, Rumble (May 16, 2022), https://rumble.com/v15083x-back-by-
    popular-demand-2000-mules-in-theaters-this-week.html [perma.cc/65CB-
    5FYJ]; Dinesh D’Souza, 2000 Mules, Locals,
    https://dinesh.locals.com/post/2083099/2000-mules (last visited Oct. 13, 2022).
140
    Christian Toto, ‘2000 Mules’ Is Year’s Top-Grossing Documentary (So Far),
    Hollywood in Toto (June 3, 2022), https://www.hollywoodintoto.com/2000-
    mules-top-grossing-documentary/.
141
    Salem Media Group, 2000 Mules Becomes the Most Successful Political
    Documentary in a Decade, Seen by 1 Million (May 12, 2022, 12:00 PM),
    https://www.businesswire.com/news/home/20220511006114/en/2000-Mules-
    Becomes-the-Most-Successful-Political-Documentary-in-a-Decade-Seen-by-1-
    Million; SA Transcripts, Salem Media Group, Inc.’s (SALM) CEO David
    Santrella on Q2 2022 Results - Earnings Call Transcript, Seeking Alpha (Aug.
    6, 2022, 10:07 PM), https://seekingalpha.com/article/4530981-salem-media-
    group-inc-s-salm-ceo-david-santrella-on-q2-2022-results-earnings-call-
    transcript.

                                         68
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D’Souza’s wife. The film itself “ends with a QR code that directs voters to a

website where they can donate money to True the Vote.” 142

       153. Defendants TTV and D’Souza Media are enterprises that generate or

aim to generate income for Defendants Engelbrecht, Phillips, and D’Souza.

       154. TTV pays Defendant Engelbrecht a substantial salary. In addition, a

Reveal News investigation showed that TTV reported loans to Defendant

Engelbrecht of more than $113,000, despite Texas law banning nonprofits from

loaning money to directors.143 TTV paid companies connected to Defendants

Engelbrecht and Phillips nearly $890,000 from 2014 to 2020.144

       155. By repeating lies about Mr. Andrews in 2000 Mules, in the film’s

trailer, and in related promotional appearances, Defendants Engelbrecht and

Phillips sought to drive revenue and raise the profiles of themselves and their

organizations. Defendant Phillips’ company, OPSEC Group LLC, claims to




142
    Mark Niesse, What 2000 Mules Leaves Out From Ballot Harvesting Claims,
    Atlanta Journal (May 10, 2022), https://www.ajc.com/politics/what-2000-
    mules-leaves-out-from-ballot-harvesting-
    claims/FFMNUU56RVBRNOLZKWHUREQPEU/.
143
    Cassandra Jaramillo, She Helped Create the Big Lie. Records Suggest She
    Turned It Into a Big Grift., Reveal News (June 8, 2022),
    https://revealnews.org/article/true-the-vote-big-lie-election-fraud/.
144
    Id.

                                         69
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analyze data for TTV and has derived substantial revenue for these services.145

OPSEC has billed at least $750,000 to TTV since November 2020. 146 Defendant

Phillips first gained prominence by originating a discredited theory that former

President Trump lost the popular vote in 2016 because of voter fraud. 147

       156. As described above, Defendant Phillips sold access to a website where

he claimed to share additional evidence of the mules scheme left out of the film.148




145
    Danny Hakim & Alexandra Berzon, A Big Lie in a New Package, N.Y. Times
    (May 29, 2022, updated June 8, 2022),
    https://www.nytimes.com/2022/05/29/us/politics/2000-mules-trump-
    conspiracy-theory.html.
146
    Mimi Swartz, How True the Vote Fabricates Claims of Election Fraud, for Fun
    and Profit, Texas Monthly (Aug. 22, 2022),
    https://www.texasmonthly.com/news-politics/true-the-vote-election-fraud/.
147
    Katie Forster, Donald Trump’s false claim about illegal votes ‘based on
    unverified tweet posted on conspiracy website’, Independent (Nov. 28, 2016,
    8:12 AM), https://www.independent.co.uk/news/world/americas/donald-trump-
    millions-illegal-aliens-voted-greg-phillips-three-million-tweet-infowars-alex-
    jones-a7443006.html; Alex Samuels, Trump says Texan is source for
    unsupported voter fraud claim, Texas Tribune (Jan. 27, 2017, 11:00 AM),
    https://www.texastribune.org/2017/01/27/trump-says-texan-source-
    unsupported-voter-fraud-cl/.
148
    Matt Shuham, WATCH: The Moment When The ‘2,000 Mules’ Folks Admit
    Their Supposed Evidence Is Nonsense, TPM (Aug. 16, 2022, 4:21 PM),
    https://talkingpointsmemo.com/news/watch-the-moment-when-the-2000-
    mules-folks-admit-their-supposed-evidence-is-nonsense; Philip Bump, Another
    year, another high-profile voter-fraud summit goes bust, Wash. Post (Aug. 15,
    2022, 1:37 PM), https://www.washingtonpost.com/politics/2022/08/15/trump-
    voter-fraud-2020-election/.

                                         70
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       157. Both Defendant Engelbrecht and TTV have been criticized across the

political spectrum for, among other things, financial misdealing, manufacturing

fears of voter fraud, racist targeting of voters, and falsely claiming to have

evidence of voter fraud which they lacked.149

       158. Nonetheless, 2000 Mules remains online and widely publicly

available, and Defendants have not retracted their allegations. TTV’s website and

social media pages continue to promote the film and include interviews by

Defendants Englebrecht and Phillips that include Mr. Andrews’ image. 150


149
    Richard Salame, Was Election Denial Just a Get-Rich-Quick Scheme? Donors’
    Lawsuits Look for Answers., Intercept (Feb. 6, 2021, 11:00 AM),
    https://theintercept.com/2021/02/06/election-deniers-profit-lawsuits/;
    Cassandra Jaramillo, True the Vote Raised Millions to Combat voter Fraud -
    But No One Really Knows Where the Money Went, Mother Jones (June 8,
    2022), https://www.motherjones.com/politics/2022/06/catherine-engelbrecht-
    true-the-vote-raised-millions-to-combat-voter-fraud-but-no-one-really-knows-
    where-the-money-went/; Mimi Swartz, How True the Vote Fabricates Claims
    of Election Fraud, for Fun and Profit, Texas Monthly (Aug. 22, 2022),
    https://www.texasmonthly.com/news-politics/true-the-vote-election-fraud/;
    Cassandra Jaramillo, She Helped Create the Big Lie. Records Suggest She
    Turned It Into a Big Grift., Reveal News (June 8, 2022),
    https://revealnews.org/article/true-the-vote-big-lie-election-fraud/; Dan Harris
    & Melia Patria, Is True the Vote Intimidating Minority Voters From Going to
    the Polls?, ABC News (Nov. 1, 2012, 1:27 PM),
    https://abcnews.go.com/Politics/true-vote-intimidating-minority-voters-
    polls/story?id=17618823.
150
    True the Vote, Is the house of cards finally falling? True the Vote founder
    Catherine Engelbrecht dropped some truth bombs on Tucker last night.,
    Facebook (May 6, 2022),
                                                                                 (cont’d)


                                          71
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      159. Defendants have a history of profiting off election lies. 151 Over the

last two presidential election cycles, Defendant TTV reportedly has raised millions

of dollars by promoting false claims of election fraud.

      160. In particular, Defendant TTV promotes and has substantially profited

from the false claim that election fraud most often occurs in urban areas and

among voters of color, and that voting by mail or absentee drop boxes is inherently


    https://www.facebook.com/watch/?v=1381334499041217&ref=sharing
    [perma.cc/NE2K-M3PJ]; True the Vote, ‘Local Insurgencies’: The Epoch
    Times Features Interview With True the Vote About Who Is Funding the Ballot
    Mules (May 14, 2022), https://ttvdevv.wpengine.com/the-epoch-times-
    interview-about-who-is-funding-the-ballot-mules/ [https://perma.cc/G6RG-
    BLU7]; True The Vote, They thought that with the movie launch, we were
    done., Facebook (May 8, 2022),
    https://www.facebook.com/TrueTheVote/videos/335770281958423/
    [perma.cc/MJ8R-G83G]; True the Vote, “How They Did It”: The Charlie Kirk
    Show Features True the Vote Bombshell Election Integrity Revelations (Apr. 7,
    2022), https://ttvdevv.wpengine.com/the-charlie-kirk-show-features-true-the-
    vote/ [https://perma.cc/4X9F-Y8SY].
151
    Richard Salame, Was Election Denial Just a Get-Rich-Quick Scheme? Donors’
    Lawsuits Look for Answers., Intercept (Feb. 6, 2021, 11:00 AM),
    https://theintercept.com/2021/02/06/election-deniers-profit-lawsuits/;
    Cassandra Jaramillo, True the Vote Raised Millions to Combat voter Fraud -
    But No One Really Knows Where the Money Went, Mother Jones (June 8,
    2022), https://www.motherjones.com/politics/2022/06/catherine-engelbrecht-
    true-the-vote-raised-millions-to-combat-voter-fraud-but-no-one-really-knows-
    where-the-money-went/; Mimi Swartz, How True the Vote Fabricates Claims
    of Election Fraud, for Fun and Profit, Texas Monthly (Aug. 22, 2022),
    https://www.texasmonthly.com/news-politics/true-the-vote-election-fraud/;
    Cassandra Jaramillo, She Helped Create the Big Lie. Records Suggest She
    Turned It Into a Big Grift., Reveal News (June 8, 2022),
    https://revealnews.org/article/true-the-vote-big-lie-election-fraud/.

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fraudulent. 152 Indeed, 2000 Mules largely focuses on urban areas and many of the

so-called “mules” shown in the film, including Mr. Andrews, are voters of color.

Defendants’ lies about Mr. Andrews fit in with their predetermined narrative.

       161. In November 2020, Defendant TTV was sued by a donor who gave

TTV $2.5 million to fund litigation that would prove that the 2020 election was

stolen from Trump. 153 The donor alleged that TTV swindled him with false claims


152
    Andy Sullivan, Explainer: Despite Trump Claims, voter fraud is extremely
    rare. Here is how U.S. states keep it that way, Reuters (Sept. 9, 2020, 6:08
    AM), https://www.reuters.com/article/us-usa-election-voter-fraud-facts-explai-
    idUSKBN2601HG; Lee Fang & Nick Surgey, Conservative Operatives Float
    Plan to Place Retired Military, Police Officers as GOP Poll Watchers on
    Election Day, Intercept (Apr. 11, 2020, 6:00 AM),
    https://theintercept.com/2020/04/11/republican-poll-watchers-vote-by-mail-
    voter-fraud/; Suevon Lee, A Reading Guide to True the Vote, the Controversial
    Voter Fraud Watchdog, ProPublica (Sept. 27, 2012, 11:23 AM),
    https://www.propublica.org/article/a-reading-guide-to-true-the-vote-the-
    controversial-voter-fraud-watchdog; Dan Harris & Melia Patria, Is True the
    Vote Intimidating Minority Voters From Going to the Polls?, ABC News (Nov.
    1, 2012, 1:27 PM), https://abcnews.go.com/Politics/true-vote-intimidating-
    minority-voters-polls/story?id=17618823; AJ Vicens & Natasha Khan, Election
    observers True the Vote accused of intimidating minority voters, NBC News
    (Aug. 25, 2012, 8:02 AM),
    https://www.nbcnews.com/news/investigations/election-observers-true-vote-
    accused-intimidating-minority-voters-flna964130.
153
    Danny Hakim & Alexandra Berzon, A Big Lie in a New Package, N.Y. Times
    (May 29, 2022, updated June 8, 2022),
    https://www.nytimes.com/2022/05/29/us/politics/2000-mules-trump-
    conspiracy-theory.html; Shawn Boburg & Jon Swaine, A GOP donor gave $2.5
    million for a voter fraud investigation. Now he wants his money back., Wash.
    Post (Feb. 15, 2021, 1:30 PM),
                                                                                (cont’d)


                                        73
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about evidence in its possession that the election was stolen, and that TTV

improperly diverted much of the donation to people connected to Defendant

Engelbrecht, including Defendant Phillips’ company, OPSEC. 154 The litigation

showed that TTV had repeatedly falsely claimed to be on the cusp of sharing

evidence proving the election was stolen, but never really had such evidence.155

Defendant Engelbrecht has said that ultimately some of those funds were used to

launch the 2000 Mules project—after paying TTV’s legal fees. 156


    https://www.washingtonpost.com/investigations/true-vote-lawsuit-fraud-
    eshelman/2021/02/15/a7017adc-6724-11eb-886d-5264d4ceb46d_story.html;
    Verified Complaint, Eshelman v. True the Vote, Inc., No. 20-cv-04034 (S.D.
    Tex. Nov. 25, 2020), https://www.documentcloud.org/documents/20417606-
    eshelman-v-true-the-vote.
154
    Danny Hakim & Alexandra Berzon, A Big Lie in a New Package, N.Y. Times
    (May 29, 2022, updated June 8, 2022),
    https://www.nytimes.com/2022/05/29/us/politics/2000-mules-trump-
    conspiracy-theory.html; Shawn Boburg & Jon Swaine, A GOP donor gave $2.5
    million for a voter fraud investigation. Now he wants his money back., Wash.
    Post (Feb. 15, 2021, 1:30 PM),
    https://www.washingtonpost.com/investigations/true-vote-lawsuit-fraud-
    eshelman/2021/02/15/a7017adc-6724-11eb-886d-5264d4ceb46d_story.html;
    Richard Salame, Was Election Denial Just a Get-Rich-Quick Scheme? Donors’
    Lawsuits Look for Answers., Intercept (Feb. 6, 2021, 11:00 AM),
    https://theintercept.com/2021/02/06/election-deniers-profit-lawsuits/.
155
    Danny Hakim & Alexandra Berzon, A Big Lie in a New Package, N.Y. Times
    (May 29, 2022, updated June 8, 2022),
    https://www.nytimes.com/2022/05/29/us/politics/2000-mules-trump-
    conspiracy-theory.html.
156
    Tom Dreisbach, A publisher abruptly recalled the ‘2,000 Mules’ election
    denial book. NPR got a copy., NPR (Sept. 8, 2022, 12:44 PM),
                                                                              (cont’d)


                                         74
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      162. Others who have been TTV allies and fellow promoters of the lie that

Trump lost the 2020 election due to fraud have told donors not to give a “penny” to

Defendants Engelbrecht and TTV, as it is not a good use of funds.157 Another, who

had worked with the donor who later sued Defendant Engelbrecht, regretted

making the connection, writing, “[I] am just kicking myself as it is clear from

many friends and insiders that Catherine is a disaster. . . . Her story is utter

Bullshit.”158

      163. A Republican operative who worked for TTV in 2014 noted that the

organization never provided evidence to substantiate its claims. Of Defendant

Engelbrecht, he explained: “She never had the juice in terms of evidence. . . . But

now that doesn’t matter. She’s having her uplift moment.”159




    https://www.npr.org/2022/09/08/1121648290/a-publisher-abruptly-recalled-
    the-2-000-mules-election-denial-book-npr-got-a-cop.
157
    Documented, Leaders of the Big Lie Movement Warn Donors Not to Fund
    Catherine Engelbrecht of True the Vote (May 31, 2022),
    https://documented.net/media/leaders-of-the-voter-fraud-myth-movement-
    warn-donors-not-to-fund-catherine-engelbrecht-of-true-the-vote.
158
    Cassandra Jaramillo, She Helped Create the Big Lie. Records Suggest She
    Turned It Into a Big Grift., Reveal News (June 8, 2022),
    https://revealnews.org/article/true-the-vote-big-lie-election-fraud/.
159
    Cecilia Kang, How a Spreader of Voter Fraud Conspiracy Theories Became a
    Star, N.Y. Times (Sept. 14, 2022),
    https://www.nytimes.com/2022/09/14/technology/catherine-engelbrecht-voter-
    fraud-conspiracy-theories.html.

                                           75
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       164. Defendants Engelbrecht and TTV share a locals.com page.160

Defendant Engelbrecht regularly engages in discussion about the mules narrative

on this account, and promises to answer questions and reveal information—if

supporters pay to subscribe.161

       165. Dineshdsouza.com is the website for D’Souza Media, but centers on

Defendant D’Souza himself and his products. Alongside Defendant D’Souza’s

books and DVDs, the site includes an “official store” selling other D’Souza

merchandise. The website includes links to Defendant D’Souza’s podcast episodes

and videos, which have paid advertisements. The 2000 Mules website contains a

link to Dineshdsouza.com.

       166. Defendant D’Souza’s business model is predicated on spreading false

narratives for profit. He has been responsible for many of the most roundly

discredited conspiracy theories of the twenty-first century. Defendant D’Souza’s




160
    True the Vote, Your support helps us inform and educate more people across
    the country, https://truethevote.locals.com/support [perma.cc/V7GM-N4BY]
    (last visited Oct. 2, 2022). D’Souza has also made streams of 2000 Mules
    available to those who pay to subscribe to his own locals account.
161
    Cassandra Jaramillo, Group Behind ‘2000 Mules’ Has Deep Ties to Ken
    Paxton, Reveal News (July 21, 2022), https://revealnews.org/article/true-the-
    vote-trump-election-ken-paxton/.

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book The Enemy at Home—which argued that the American left’s cultural

openness caused 9/11—was denounced by those on the political right and left.162

       167. Defendant D’Souza was also a proponent of the so-called “Birther”

conspiracy theory that former President Barack Obama was not born in the United

States.163 Defendant D’Souza has been criticized for his “fundamental intellectual

dishonesty” in the conservative National Review,164 and his work has been called




162
    NR Symposium, The Enemy D’Souza Knows, National Review (Mar. 16, 2007,
    9:00 AM), https://www.nationalreview.com/2007/03/enemy-dsouza-knows-
    nro-symposium/; Daniel Larison, Obama, Anticolonial Hegemonist?, American
    Conservative (Sept. 9, 2010, 3:32 PM),
    https://www.theamericanconservative.com/obama-anticolonial-hegemonist/;
    Aidan McLaughlin, Dinesh D’Souza Gets Scrubbed From the National Review
    Masthead, MEDIAite (Mar. 3, 2022, 4:47 PM),
    https://www.mediaite.com/weird/dinesh-dsouza-gets-scrubbed-from-the-
    national-review-masthead/; Zachary Petrizzo, Right-Wing Site Townhall
    Quietly Deletes Ann Coulter Post Bashing D’Souza’s Movie It Funded, Daily
    Beast (June 17, 2022, 3:43 PM), https://www.thedailybeast.com/townhall-
    quietly-deletes-ann-coulter-post-bashing-dinesh-dsouza-movie-it-funded.
163
    Dinesh D’Souza (@DineshDSouza), Twitter (Sept. 27, 2016, 11:01 AM),
    https://twitter.com/DineshDSouza/status/780784483448590338?ref_src=
    twsrc%5Etfw%7Ctwcamp%5Etweetembed%7Ctwterm%5E780784483448590
    338%7Ctwgr%5E1991f582450de5cc1d8b4e798a20f4992acf32a4%7Ctwcon%
    5
    Es1_&ref_url=https%3A%2F%2Ftheweek.com%2Farticles%2F776256%2F7-
    dinesh-dsouzas-most-shameful-moments.
164
    NR Symposium, The Enemy D’Souza Knows, National Review (Mar. 16, 2007,
    9:00 AM), https://www.nationalreview.com/2007/03/enemy-dsouza-knows-
    nro-symposium/.

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“ideological Birtherism” in The American Conservative, as well as “inexcusably

moronic,” “a bad conspiracy theory,” and “evidence-free, ideological babbling.”165

       168. Defendants have continued to attempt to profit off of the film, even

after its claims were thoroughly discredited.166

       G.    Defendants’ false statements were designed to advance a
             predetermined narrative.

       169. Defendants’ false statements about Mr. Andrews fit their

predetermined narratives. Defendants conceived a storyline—that the 2020 election

was stolen by fraudulent votes delivered by “mules”—and then set out to

manufacture “evidence” that conformed to this narrative. Even after being

confronted with direct evidence of its falsity, Defendants continued to push the

narrative that Mr. Andrews and others committed fraud to steal the 2020 election.


165
    Daniel Larison, Obama, Anticolonial Hegemonist?, American Conservative
    (Sept. 9, 2010, 3:32 PM), https://www.theamericanconservative.com/obama-
    anticolonial-hegemonist/.
166
    E.g., Dinesh D’Souza (@DineshDSouza), Twitter (Oct. 14, 2022, 12:36 PM),
    https://twitter.com/DineshDSouza/status/1580960811820142592; Dinesh
    D’Souza (@DineshDSouza), Twitter (Sept. 6, 2022, 4:39 PM),
    https://twitter.com/DineshDSouza/status/1567251267696590850; Dinesh
    D’Souza (@DineshDSouza), Twitter (Sept. 4, 2022, 2:04 PM),
    https://twitter.com/DineshDSouza/status/1566487312346783747; Dinesh
    D’Souza (@DineshDSouza), Twitter (Aug. 20, 2022, 6:28 PM),
    https://twitter.com/DineshDSouza/status/1561117901385568257; True The
    Vote, We had so many great people tune in Monday, Facebook (May 25, 2022),
    https://www.facebook.com/photo.php?fbid=378648854299239&set=pb.100064
    623822609.-2207520000..&type=3.

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       170. In addition to the significant fundraising TTV achieved by promoting

the lie that the 2020 election was stolen, TTV’s actions before the 2020 election

and dating back a decade to sensationalize the risk of election fraud demonstrate

this same predetermined narrative.167 For example, a TTV leader declared at a

national summit preparing for the 2012 presidential election: “I’m not being over

the top here: I fear the Obama gang is setting themselves up to steal the elections,

if possible.” 168

       171. Defendant Engelbrecht has also recognized that TTV’s methods had a

heightened risk of wrongly targeting voters living in multigenerational

households—like Mr. Andrews—and that she and TTV advance their narratives

regardless of the truth of those narratives. A Nightline reporter in 2012 asked

Defendant Engelbrecht about how TTV’s system for reporting fraud accusations to

authorities—which targets addresses with many registered voters—could be biased


167
    Lee Fang & Nick Surgey, Conservative Operatives Float Plan to Place Retired
    Military, Police Officers as GOP Poll Watchers on Election Day, Intercept
    (Apr. 11, 2020, 6:00 AM), https://theintercept.com/2020/04/11/republican-poll-
    watchers-vote-by-mail-voter-fraud/.
168
    Dan Harris & Melia Patria, Is True the Vote Intimidating Minority Voters From
    Going to the Polls?, ABC News (Nov. 1, 2012, 1:27 PM),
    https://abcnews.go.com/Politics/true-vote-intimidating-minority-voters-
    polls/story?id=17618823; Complaint, McDonald v. King Street Patriots a/k/a
    KSP/True the Vote (Tex. Ethics Comm’n, Oct. 15, 2010),
    https://static.texastribune.org/media/documents/King_street_complaint.pdf?_ga
    =2.83151766.1480191080.1601916449-2142928190.1592927878.

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against multigenerational households, like the Andrews home. 169 Engelbrecht did

not deny that multigenerational households could be disproportionately targeted,

but explained that TTV’s system works that way for efficiency.170

       H.    Mr. Andrews has been harmed by Defendants’ actions.
       172. Defendants’ misconduct has caused—and continues to cause—

significant harm to Mr. Andrews. As detailed above, in total, Defendants spread

their false claims about Mr. Andrews on programs that reached at least 3.2 million

viewers. Defendants also disseminated Mr. Andrews’ image and the accusations

against him on multiple social media platforms, with posts that have been viewed

more than 5.8 million times. In addition, the film itself has been viewed by over a

million people. This is in addition to the continued presence of the 2000 Mules

film, its trailer, and other promotional materials for the film, all currently available

on Defendants’ websites and social media pages.

       I.    Mr. Andrews reasonably fears physical harm.

       173. Mr. Andrews reasonably fears for his and his family’s physical safety

because of Defendants’ false accusations that he committed serious crimes, that he


169
    Dan Harris & Melia Patria, Is True the Vote Intimidating Minority Voters From
    Going to the Polls?, ABC News (Nov. 1, 2012, 1:27 PM),
    https://abcnews.go.com/Politics/true-vote-intimidating-minority-voters-
    polls/story?id=17618823.
170
    Id.

                                           80
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helped “steal” the 2020 election, and Defendants’ repeated and continuing

publication of his image in a false light without his consent.

        174. Defendants’ actions have had the predictable and foreseeable

consequence of leading to threats of physical harm—including death threats—

against Mr. Andrews and his family by Defendants’ followers. This has led to

Mr. Andrews’ reasonable fear for his and his family’s safety, the expenses and

changes in his daily life to try to ensure his and his family’s safety, and the

psychological harm caused by his reasonable fear for his and his family’s safety.

        175. Mr. Andrews’ reasonable fear has increased as Defendants have

spurred their followers to take physical action against the alleged perpetrators of

voter fraud. For example, following a presentation by Defendants on the “mules”

story, Arizona lawmakers called on vigilantes to monitor and record voters. 171 In



171
      Jerod MacDonald-Evoy, Republicans are urging vigilantes to watch ballot
      drop boxes, polling locations, to sniff out fraud, AZ Mirror (Aug. 2, 2022, 6:30
      AM), https://www.azmirror.com/2022/08/02/republicans-are-urging-vigilantes-
      to-watch-ballot-drop-boxes-polling-locations-to-sniff-out-fraud/; Jerod
      MacDonald-Evoy, GOP lawmaker calls on ‘vigilantes’ to film and follow
      voters to combat unproven ‘ballot mules’, AZ Mirror (May 31, 2022, 9:57
      PM), https://www.azmirror.com/2022/05/31/gop-lawmaker-calls-on-vigilantes-
      to-film-and-follow-voters-to-combat-unproven-ballot-mules/; Tiffany Hsu &
      Stuart A. Thompson, Hunting for Voter Fraud, Conspiracy Theorists Organize
      ‘Stakeouts’, N.Y. Times (Aug. 10, 2022),
      https://www.nytimes.com/2022/08/10/technology/voter-drop-box-conspiracy-
      theory.html.

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response, vigilantes held “mules”-inspired “tailgate parties” where they monitored,

recorded, and questioned voters at drop boxes in Arizona, which led to

confrontations.172

       176. At a 2000 Mules screening at Mar-a-Lago, former President Trump

called on attendees to “do something” about the purported stealing of the 2020

election. TTV endorses this call to action by promoting it on its website. 173

Defendant D’Souza has posted similar calls to action:174



172
    Sasha Hupka, As ballot drop box stakeouts continue, new voter intimidation
    complaints flow in. Arizona Republic (Oct. 24, 2022),
    https://www.azcentral.com/story/news/politics/elections/2022/10/21/ballot-
    drop-box-stakeouts-continue-new-voter-complaints-flow/10565205002/; Jerod
    MacDonald-Evoy, Republicans are urging vigilantes to watch ballot drop
    boxes, polling locations, to sniff out fraud, AZ Mirror (Aug. 2, 2022, 6:30
    AM), https://www.azmirror.com/2022/08/02/republicans-are-urging-vigilantes-
    to-watch-ballot-drop-boxes-polling-locations-to-sniff-out-fraud/; Jerod
    MacDonald-Evoy, GOP lawmaker calls on ‘vigilantes’ to film and follow
    voters to combat unproven ‘ballot mules’, AZ Mirror (May 31, 2022, 9:57
    PM), https://www.azmirror.com/2022/05/31/gop-lawmaker-calls-on-vigilantes-
    to-film-and-follow-voters-to-combat-unproven-ballot-mules/; Tiffany Hsu &
    Stuart A. Thompson, Hunting for Voter Fraud, Conspiracy Theorists Organize
    ‘Stakeouts’, N.Y. Times (Aug. 10, 2022),
    https://www.nytimes.com/2022/08/10/technology/voter-drop-box-conspiracy-
    theory.html.
173
    True the Vote, Trump Encourages Audience at 2000 Mules Premiere to ‘Do
    Something’ About Voter Fraud (May 5, 2022),
    https://www.truethevote.org/trump-encourages-audience-at-2000-mules-
    premiere-to-do-something/.
174
    Dinesh D’Souza (@DineshDSouza), Twitter (Aug. 1, 2022, 8:21 AM),
    https://twitter.com/DineshDSouza/status/1554079964420608000.

                                          82
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        177. Numerous social media users have posted or shared threats on social

media, including ones threatening to “arrest,” assault, or kill “mules” like

Mr. Andrews.

        178. Many of these posts include Mr. Andrews’ image along with white

supremacist references, and promote Defendants’ narrative that Mr. Andrews is a

criminal and a treasonous “mule.”175 Some of these posts have been shared over

100,000 times.


175
      @RedPillPharmacist, Telegram (May 9, 2022),
      https://t.me/redpillpharmacist/25824 [perma.cc/2GYT-S3PT]; Andy Kroll,
      “Big Lie” Vigilantism Is on the Rise. Big Tech is Failing to Respond.,
      ProPublica (June 17, 20122, 12:00 PM),
      https://www.propublica.org/article/election-fraud-ballot-mules-facebook-
      tiktok-memes; Alyssa Rich295 (@alyssarich13), TikTok,
                                                                               (cont’d)


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      179. One social media user posted that he was “watching” voters on

election day, and that he voted wearing a Defendant Phillips shirt and an “Arrest

the Mules” bracelet.176

      180. “The term ‘ballot mules,’ . . . has surfaced 326,000 times on Twitter

since January [2022], up from 329 times between November 2020 and this

January, according to Zignal Labs, a media insights company.” 177

      181. As another example, a Twitter post stating, “Arrest the mules!” has

been shared 2,737 times and liked 13,200 times as of October 13, 2022. 178

      182. Some social media posts have actually placed images of the alleged

“mules” on mock “WANTED” posters.179




    https://www.tiktok.com/@alyssarich13/video/7095415280226061611?is_from
    _webapp=v1&item_id=7095415280226061611 (last visited Oct. 2, 2022).
176
    Poker and Politics (@PokerPolitics), Twitter (Aug. 20, 2022, 11:59 PM),
    https://twitter.com/PokerPolitics/status/1561201365459820544.
177
    Cecilia Kang, How a Spreader of Voter Fraud Conspiracy Theories Became a
    Star, N.Y. Times (Sept. 14, 2022),
    https://www.nytimes.com/2022/09/14/technology/catherine-engelbrecht-voter-
    fraud-conspiracy-theories.html.
178
    Tim Swain (@_TimSwain_), Twitter (May 9, 2022, 5:35 PM),
    https://twitter.com/_TimSwain_/status/1523778747719057408.
179
    Andy Kroll, “Big Lie” Vigilantism Is on the Rise. Big Tech is Failing to
    Respond., ProPublica (June 17, 20122, 12:00 PM),
    https://www.propublica.org/article/election-fraud-ballot-mules-facebook-
    tiktok-memes.

                                        84
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       183. Further, one website in particular created digital billboards with the

word “busted” superimposed on a screenshot from the movie of Andrews

submitting ballots for himself and his family and suggests that Andrews was “hired

to illegally dump ballots into ballot boxes.” 180

       184. In addition, numerous social media posts repeating the “mules”

narrative have called for physical violence against those falsely depicted in

Defendants’ film as “mules,” some of which have used Mr. Andrews’ image.

These threats have dramatically increased Mr. Andrews’ fear of physical harm and

his emotional and psychological anguish.

       185. For example, one social media user posted TTV’s clip of

Mr. Andrews voting alongside an explanation of the “mules” theory. That post has

been viewed over 1,500 times.181 Comments on these posts include threats to have

the “mules” “forcibly amputated from the country and sent somewhere else en



180
    The America Project, 7Ballots, Wayback Machine,
    https://web.archive.org/web/20220528170234/https:/www.7ballots.com/ (last
    visited Oct. 13, 2022); Audrey Trujillo The Next NM Secretary of State,
    Facebook (Aug. 22, 2022),
    https://www.facebook.com/photo.php?fbid=453254773452447&set=pb.100063
    037849794.-2207520000.
181
    Americas Best Pics, Stolen Election? It Appears So - Trump Wins Just By
    Removing the Worst Offenders [2000 Mules],
    https://americasbestpics.com/video/stolen-election-it-appears-so-trump-wins-
    just-by-removing-QbrsD4YX9 (last visited Sept. 30, 2022).

                                           85
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masse,” and proclamations that the “mules” should be arrested, “face a firing

squad,” or receive “Bullets to Mules Heads.” Defendants’ followers have also

assured “mules” through social media comments that “we’re coming after you.”

For example:




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       186. As another example, a user posted a video on the video-sharing

platform Rumble that included the TTV clip of Mr. Andrews. The comments on

the video suggest that Defendants’ followers want to track down the “mules” who

they believe should be hanged, “executed,” “die,” or face incarceration.182




                                                                                  183


       187. Another video with Mr. Andrews’ image posted to the social network

TikTok resulted in the following comments:184




182
    The Salty Cracker, 2000 Mules Clip - Video Montage of Mules, Rumble (May
    11, 2022), https://rumble.com/v14ck4s-2000-mules-clip-video-montage-of-
    mules.html.
183
    Id.
184
    Comments to @robertsantini01 TikTok post.

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      188. These threats have led Mr. Andrews, like any reasonable person, to

fear that he and his family are in physical danger from Defendants’ vigilante

followers.

      189. These public threats were the foreseeable and even intended result of

Defendants’ actions.

      190. Mr. Andrews’ fear for his and his family’s physical safety is

objectively reasonable, given Defendants’ ongoing use of his image with the false

and defamatory accusations that he has committed crimes and the clear and

numerous threats of harm leveled by Defendants’ followers.

      191. Mr. Andrews’ fear for his family’s safety has further increased after a

reporter contacted his daughter on two different social media platforms about

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Defendants’ claims. He is troubled that members of the public were able to

discover his daughter’s identity and contact her. If the press can easily identify and

contact her, then those issuing threats against him and his family can as well.

      192. Mr. Andrews’ reasonable fear for his and his family’s physical safety

has had a deleterious effect on all of their lives. For example, Mr. Andrews and his

family have become hypersensitive to hearing knocks on their door or seeing

unknown persons or cars on their street for fear that it may be one of Defendants’

followers coming to cause them harm. Additionally, Mr. Andrews does everything

in his power to avoid leaving his house at night for fear of reprisal, and he has

begun taking alternate driving routes to and from work to limit the likelihood that

he is followed. This constant state of vigilance, especially in and around their own

home, has caused significant anxiety for Mr. Andrews and his family.

      193. Mr. Andrews has also spent time and money to protect his and his

family’s safety. Mr. Andrews bought and installed four new surveillance cameras

around his house that stream directly to his phone and notify him of any activity on

his property. Mr. Andrews has also paid for a service to remove personal

information from the internet to protect the family’s privacy. Additionally, Mr.

Andrews has spent time and money changing his license plate and scraping the

stickers off his SUV in an effort to hide his identity, because Defendants included


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images of the car and its license plate in their publications. Mr. Andrews knows

that this is how the state investigator located him, and fears that others could do so

as well. Mr. Andrews’ wife fears for his safety whenever he drives this vehicle.

        J.    Mr. Andrews is scared to vote and has been injured because he
              voted.
        194. Mr. Andrews and his family now feel intimidated to exercise their

right to vote, and will forever look over their shoulders when voting.

        195. His fear is objectively reasonable. Any reasonable voter would fear

that simply by exercising their right to vote, they could have their image posted all

over the media and could be falsely accused of crimes. Any reasonable voter

would also experience fear about voting given the threats of physical harm detailed

above. And it is likely that other voters are also intimidated by Defendants’

“mules” narrative and portrayal of Mr. Andrews.

        196. Indeed, the film has spurred vigilantes to set up “tailgates” near ballot

boxes to monitor, harass, and dissuade any voters depositing more than one ballot

(which is legal under certain circumstances in most states), based on the false idea

that they are preventing “mules” from delivering ballots. 185


185
      Danny Hakim & Alexandra Berzon, A Big Lie in a New Package, N.Y. Times
      (May 29, 2022, updated June 8, 2022),
      https://www.nytimes.com/2022/05/29/us/politics/2000-mules-trump-
      conspiracy-theory.html.

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        197. Moreover, Mr. Andrews is upset that Defendants included harmful

racist stereotypes in the film, and targeted him—a Black man wearing a hoodie—

based on stereotypes that he has sought to avoid throughout his life.186

        198. Mr. Andrews is upset and anxious that Defendants are riling up people

who may already have racial biases, and he fears that people who believe

Defendants’ offensive stereotypes will target himself, his wife, and his children.

Mr. Andrews is worried that this could lead to violence and other attacks.

        199. Mr. Andrews is also aware that the harm he has suffered and

continues to suffer is on account of his exercising his lawful right to vote, which is

especially painful to him because he values voting as a core duty of citizens in our

democracy.

        200. Defendants’ ongoing defamation campaign is a modern and

particularly insidious method of voter intimidation. An objectively reasonable

voter depicted as a “mule” in Defendants’ publications, or fearful of being wrongly

depicted in a future one, would reasonably fear going to the polls because of the

significant risk that the voter would be a continued target of Defendants’


186
      2000 Mules references the “Mexican Mafia” committing voter fraud, and many
      of the film’s images of “mules” are voters of color, including Andrews.
      Further, the film focuses on cities with large populations of voters of color—
      Atlanta, Milwaukee and Phoenix. The film claims that mules were also tracked
      attending Black Lives Matter “riots” and protests.

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defamation campaign that could have devastating effects on their lives, reputations,

careers, and physical safety.

      201. Defendants’ call to action to “monitor” voters is ongoing. For

example, multiple TTV social media accounts include a call to action that includes

“watch the drop boxes”:




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                                                                   187

       202. Defendant D’Souza continues to regularly promote the film, and to

call for monitoring of ballot drop boxes. 188

187
    True the Vote (@truethevote), Truth Social (Sept. 13, 2022, 19:53),
    https://truthsocial.com/@truethevote/posts/108993787364452061;
    @RealTrueTheVote, Instagram,
    https://www.instagram.com/realtruethevote/?hl=en (last visited Oct. 1, 2022).
188
    E.g., Dinesh D’Souza (@DineshDSouza), Twitter (Oct. 16, 2022, 11:08 AM),
    https://twitter.com/DineshDSouza/status/1581663440808333316?cxt=HHwWi
                                                                              (cont’d)


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      203. Further, responses to Defendants’ conduct are also ongoing, and have

moved from the online sphere to the physical. For example, in October 2022, a

Twitter user posted photos of flyers posted on the streets of Tucson, Arizona, that

stated: “You cannot stop the revolution! We have just begun! We are watching

you, Mules.” 189 Another sign that appeared to be from the same group included an

image of a person behind jail bars and threatened: “Ballot drops get cell blocks.

We are watching you.” 190




    MDS-Z6hmfMrAAAA; Dinesh D’Souza (@DineshDSouza), Twitter (Oct. 14,
    2022, 12:36 PM),
    https://twitter.com/DineshDSouza/status/1580960811820142592; Dinesh
    D’Souza (@DineshDSouza), Twitter (Sept. 23, 2022, 12:05 PM),
    https://twitter.com/DineshDSouza/status/1573342748580761602; Dinesh
    D’Souza (@DineshDSouza), Twitter (Sept. 18, 2022, 10:39 AM),
    https://twitter.com/DineshDSouza/status/1571509199586185224; Dinesh
    D’Souza (@DineshDSouza), Twitter (Sept. 9, 2022, 5:08 PM),
    https://twitter.com/DineshDSouza/status/1568345679637905408; Dinesh
    D’Souza (@DineshDSouza), Twitter (Sept. 6, 2022, 4:39 PM),
    https://twitter.com/DineshDSouza/status/1567251267696590850; Dinesh
    D’Souza (@DineshDSouza), Twitter (Aug. 20, 2022, 6:28 PM),
    https://twitter.com/DineshDSouza/status/1561117901385568257.
189
    Aim (@TheRealAFitch), Twitter (Oct. 4, 2022, 5:11 PM),
    https://twitter.com/therealafitch/status/1577406200890634240?s=
    46&t=eNHR75JSoO1SQoMrTCeWcw; see also Sasha Hupka, As ballot drop
    box stakeouts continue, new voter intimidation complaints flow in. Arizona
    Republic (Oct. 24, 2022),
    https://www.azcentral.com/story/news/politics/elections/2022/10/21/ballot-
    drop-box-stakeouts-continue-new-voter-complaints-flow/10565205002/.
190
    Id.

                                         94
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       204. Defendants’ misconduct—monitoring, broadcasting, and questioning

a person’s voting habits, as well as falsely accusing a person of election fraud—are

classic examples of voter intimidation of exactly the type that federal anti-voter

intimidation legislation prohibits.

       205. Like any reasonable voter in his position, Mr. Andrews now feels fear

in connection with voting, and is afraid to assist his spouse and children in voting.

He feels intimidated because he fears that his image will be taken out of context,

shared publicly, and used to spread lies, and that those lies will result in threats.

       206. He is nervous about voting given that Defendants’ claims are ongoing

and are spurring others to engage in intimidation.191 As noted above, one social

media user posted that he was “watching” voters on election day in summer 2022,

and that he voted wearing an “Arrest the Mules” bracelet.192


191
    As discussed above, in Arizona, vigilantes organized ballot drop-box “watch
    parties” to monitor voters during the August 2022 primaries inspired by
    Defendants’ film (which also targeted Arizona) and invented narrative. Jerod
    MacDonald-Evoy, Republicans are urging vigilantes to watch ballot drop
    boxes, polling locations, to sniff out fraud, AZ Mirror (Aug. 2, 2022, 6:30
    AM), https://www.azmirror.com/2022/08/02/republicans-are-urging-vigilantes-
    to-watch-ballot-drop-boxes-polling-locations-to-sniff-out-fraud/; Jerod
    MacDonald-Evoy, GOP lawmaker calls on ‘vigilantes’ to film and follow
    voters to combat unproven ‘ballot mules’, AZ Mirror (May 31, 2022, 9:57
    PM), https://www.azmirror.com/2022/05/31/gop-lawmaker-calls-on-vigilantes-
    to-film-and-follow-voters-to-combat-unproven-ballot-mules/.
192
    Poker and Politics (@PokerPolitics), Twitter (Aug. 20, 2022, 11:59 PM),
    https://twitter.com/PokerPolitics/status/1561201365459820544.

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      207. Mr. Andrews is afraid that he could be recognized and attacked when

he goes to vote.

      208. He has also already changed his voting behavior because of

Defendants’ intimidating conduct, and will continue to change his voting behavior

in the future. Georgia held a primary election in May 2022. For that election,

Mr. Andrews’ daughters feared having Mr. Andrews drop off their ballots—which

is entirely legal—as a result of Defendants’ actions. One of his daughters dropped

off her own ballot, and the other ended up not voting because she did not receive

the ballot she had requested.

      209. In the same 2022 primary election, Mr. Andrews drove with his wife

and son to vote by dropping off their absentee ballots inside at a county elections

office. The family was afraid to get out of the car together because of Defendants’

portrayal of Mr. Andrews. They were worried that Mr. Andrews and/or his car

would be recognized and accosted by people who believed Defendants’ narrative.

They were afraid that the people who had called for Mr. Andrews’ to face citizens’

arrest would recognize them and harm the family.

      210. Mr. Andrews’ son was afraid to get out of the car because of

Defendants’ false portrayal of Mr. Andrews and resultant threats. He was afraid to




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face physical harm, but he was also afraid that his image could be misappropriated.

Ultimately, he remained inside the car.

      211. Mr. Andrews was also afraid to drop off his son’s ballot—which is

entirely lawful—because of Defendants’ actions, but did it so that his son could

remain in the car. Mr. Andrews was nervous throughout and made sure to explain

to the person inside that he was complying with the law and depositing the ballot

of a relative in his household.

      212. Mr. Andrews’ wife did not want him to get out of the car to vote in

the primary given Defendants’ accusations and resulting threats. She felt

intimidated and did not want to get out of the car herself to vote. She requested a

ballot by mail, but it never arrived. Because of this, she knew that if she tried to

vote in person, she would have to vote provisionally. She was afraid to call

attention to herself and to vote provisionally because of Defendants’ actions. As a

result, she did not vote.

      213. Defendants’ ongoing use of Mr. Andrews’ image in connection with

allegations of voter fraud has made Mr. Andrews and his family feel intimidated

about voting in the future. They fear that he is being watched and could again be

falsely accused of a crime or portrayed in a false and harmful light for profit.




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Mr. Andrews has not been able to vote since without feeling anxiety for fear that

he will be targeted.

       214. For the 2022 general election, Mr. Andrews and his family changed

their voting behavior because of Defendants’ lies about him. Mr. Andrews’ wife

required that Mr. Andrews and his family put their ballots in the mail out of fear

that they would be targeted, harassed, and face further injury if they went to the

polls. Mr. Andrews was reluctant to put his ballot in the mail because he did not

trust that it would get there and be counted, but did so because he felt serious and

real anxiety and fear about going in person due to Defendants’ conduct.

       215. It is foreseeable that any reasonable voter would be intimidated by

Defendants’ scheme to use footage of voters to baselessly accuse them of serious

election crimes. 193 This is particularly acute given TTV’s history of “monitoring”

voters and their plans to continue doing so. 194 TTV announced its plans to partner


193
    Further, Defendants likely knew this and intended it, as similarly aggressive
    poll monitoring and false accusations of fraud targeting non-white voters had
    intimidated voters before. E.g., AJ Vicens & Natasha Khan, Voters feel
    intimidated by election observers, Tucson Sentinel (Aug. 20, 2012),
    https://www.tucsonsentinel.com/nationworld /report/082012_
    voting_observers/voters-feel-intimidated-by-election-observers/.
194
    Id.; Jessica Pishko, The Big Lie Messengers Who Carry a Badge and Gun,
    Bolts (Aug. 24, 2022), https://boltsmag.org/true-the-vote-sheriffs/; True the
    Vote, 2000 Mules Team Launches New ‘Sheriffs Initiative’, Facts Matter (June
    29, 2022), https://ttvdevv.wpengine.com/2000-mules-team-launches-new-
    sheriffs-initiative-facts-matter/ [perma.cc/KJ9E-FFVA].

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with local sheriffs to “monitor” and intimidate voters in upcoming elections at a

panel Defendant Engelbrecht appeared on titled “2000 Mules: ‘Law Enforcement

Has to Step in at This Point!’—Will Sheriff’s [sic] Investigate?”195

       216. Reasonable voters will fear that their image will be captured and

misused for profit—and that they will be accused of a crime—simply for voting.

Reasonable voters will also fear facing the threats and reactions that Mr. Andrews

has faced from Defendants and from those who believe their lies, as described

herein.

       217. As was foreseeable, and as detailed herein, others have repeated and

amplified Defendants’ lies about Mr. Andrews, increasing the harm to him and the

ongoing intimidation of him on account of his exercise of his right to vote.

Defendants have continued to discuss their false “mules” theory, and

Mr. Andrews’ likeness has continued to be a point of public discussion due to

Defendants’ conduct.196 The harm to Mr. Andrews and his family is ongoing, as


195
    Jessica Pishko, The Big Lie Messengers Who Carry a Badge and Gun, Bolts
    (Aug. 24, 2022), https://boltsmag.org/true-the-vote-sheriffs/.
196
    Randy Ren (@RandyRen4), Twitter (Aug. 23, 2022, 4:13 PM),
    https://twitter.com/RandyRen4/status/1562171100842303488; Space Ghost Is
    Tired of Your BS (@BullshitReturns), Twitter (Aug. 23, 2022, 6:30 PM),
    https://twitter.com/BullshitReturns/status/1562205744338018304; Paola Poot
    (@PootDibou), Twitter (Sept. 4, 2022, 3:32 PM),
    https://twitter.com/PootDibou/status/1566509548038492160; Dinesh D’Souza
                                                                                (cont’d)


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Defendants continue to promote 2000 Mules, and continue to spur additional

postings of Mr. Andrews’ image.197

      K.     Mr. Andrews’ privacy and reputation have been harmed
      218. Further, Mr. Andrews values his privacy and Defendants have harmed

him by invading it. He prides himself on being a private person who keeps his head

down and always tries to do the right thing. For this reason, he does not maintain

social media profiles. Defendants have massively invaded his privacy, showing his

image to at least 3.2 million television news viewers, and 5.8 million internet

viewers, to whom he now represents the face of a despicable criminal conspiracy.




    (@DineshDSouza), Twitter (June 16, 2022, 9:29 AM),
    https://twitter.com/DineshDSouza/status/1537427073819713536; Dinesh
    D’Souza (@DineshDSouza), Twitter (June 18, 2022, 1:26 PM),
    https://twitter.com/DineshDSouza/status/1538211490741772289
    [perma.cc/7PBM-9224]; Pamela Edwards (@PamelaEdwards), Twitter (June
    19, 2022, 2:14 PM),
    https://twitter.com/PamelaEdwards/status/1538585950888026121; Meg
    (@LMegaw), Twitter (Aug. 25, 2022, 8:15 AM),
    https://twitter.com/LMegaw/status/1562775574254596096; Paola Poot
    (@PootDibou), Twitter (Aug. 24, 2022, 3:15 PM),
    https://twitter.com/PootDibou/status/1562518980337729536
197
    Dinesh D’Souza (@DineshDSouza), Twitter (Sept. 6, 2022, 4:39 PM),
    https://twitter.com/DineshDSouza/status/1567251267696590850; Dinesh
    D’Souza (@DineshDSouza), Twitter (Aug. 23, 2022, 4:06 PM),
    https://twitter.com/DineshDSouza/status/1562169408805552128; Jags Fan Dee
    um (@FamousSeymus1), Twitter (Aug. 20, 2022, 3:46 PM),
    https://twitter.com/FamousSheymus1/status/1561077282856394752.

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      219. While on vacation, Mr. Andrews and his wife were shocked and

frightened when he received a message from a national reporter seeking comment

on the fact that his image was in 2000 Mules, that he was accused of being a

criminal ballot mule, and seeking comment. Mr. Andrews found the film and was

anguished to see his unblurred and recognizable image widely publicized on Fox

News, alongside Defendant Engelbrecht stating she had evidence that he had

committed election fraud.

      220. Although he knew that he did nothing wrong, he immediately reached

out to a family member who is a lawyer, seeking protection from prosecution

based on Defendants’ lies.

      221. Mr. Andrews is outraged that his image is being used in a false light

and for profit. Defendants have broadcast his image on national television and

labeled him a criminal for doing nothing more than lawfully exercising his right to

vote and helping members of his immediate family to do the same.

      222. Moreover, Mr. Andrews’ professional reputation has been harmed by

Defendants. Mr. Andrews works as an auditor investigating, among other things,

fraud. Accordingly, his steadfast reputation for integrity is essential to his

professional success. Mr. Andrews felt he had to tell his employer, a colleague, and

a direct report about Defendants’ claims to make sure that they heard about the lies


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from him first and so that he could debunk them, before encountering them

elsewhere. Mr. Andrews was upset that he needed to share this information at all,

concerned about who else at work might see it, and was disturbed to see how

shaken some of his colleagues have been upon hearing of the false narrative about

Mr. Andrews and that he is connected to widespread conspiracy theories.

Mr. Andrews has worked hard to establish his career and was proud of his

professional reputation as an executive-level auditor. That professional reputation

is tarnished by false and widely peddled accusations of his serious criminal

conduct and election fraud.

      223. Further, Mr. Andrews and his wife are upset by the allegation that he

needs ten dollars badly enough to commit crimes. Mr. Andrews takes pride in

having worked hard to obtain his executive-level job.

      224. Mr. Andrews remains afraid that he could suffer further reputational

and legal consequences because of the false accusations. Because he is an auditor,

Mr. Andrews’ professional reputation hinges on his integrity. Whenever

Mr. Andrews has learned that colleagues have relatives who follow conspiracy

theories, he becomes worried that they will connect him to 2000 Mules.




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      225. The harm to Mr. Andrews’ privacy and reputation is ongoing because

Defendants continue to publish his image with false accusations that he is a

criminal and continue to draw attention to the film.

      226. To attempt to mitigate the harm caused by the publication of

Defendants’ false statements, on October 3, 2022, counsel for Mr. Andrews sent

Defendants a letter demanding that they retract and take down the numerous

defamatory statements they have published and continue to publish about Mr.

Andrews.

      227. As of the date of this filing, Defendants have not retracted the

defamatory material.

      L.     Defendants have extensive business connections in Georgia that
             are sufficient for the exercise of personal jurisdiction.
      228. Defendants have regularly done and solicited business in Georgia,

have engaged in other persistent courses of conduct in Georgia, and derive

substantial revenue from goods used or consumer or services rendered in Georgia,

such that personal jurisdiction in Georgia is proper.

      229. Defendant D’Souza has regularly done and solicited business in

Georgia, has engaged in a persistent course of conduct in Georgia, and upon

information and belief, has derived substantial revenue from goods consumed or

services rendered in Georgia. He has made paid appearances in Georgia to promote

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his ventures and generate income, including one in May 2022 to promote 2000

Mules. 198 For another film, he organized, appeared at, and promoted a special

screening in Atlanta aimed at Georgians because he wanted to “get the word out”

about his work.199 D’Souza has a podcast affiliated with an Atlanta radio station. 200

       230. The TTV Defendants—True the Vote, along with its founder

Engelbrecht and board member Phillips—have regularly done and solicited

business in Georgia, have engaged in a persistent course of conduct in the state,

and upon information and belief have derived substantial revenue from goods

consumed or services rendered in Georgia.

       231. Leading up to Georgia’s January 2021 Senate runoff election, TTV

partnered with “Georgians in every county to preemptively challenge” the




198
    Turning Point Action, Exclusive showing of 2,000 Mules featuring Dinesh
    D’Souza and Charlie Kirk!, Eventbrite, https://www.eventbrite.com/e/georgia-
    2000-mules-with-dinesh-dsouza-hosted-by-turning-point-action-tickets-
    325248255287 [perma.cc/D8Y4-WKG8] (last visited Oct. 1, 2022); Kingdom
    Charge International, “Death of a Nation” Prescreening - Galleria, Eventbrite
    (July 30, 2018), https://www.eventbrite.com/e/death-of-a-nation-prescreening-
    galleria-tickets-48095924204?aff=ehomecard [perma.cc/JJ28-H3QL].
199
    Kingdom Charge International, Dinesh D’Souza in Atlanta!, Facebook (July
    24, 2018), https://www.facebook.com/kingdomcharge/videos/dinesh-dsouza-
    in-atlanta/1762365653881603/ [perma.cc/T7R6-Q7NP].
200
    Dinesh D’Souza Podcast, AM 920 The Answer,
    https://am920theanswer.com/radioshow/dinesh-dsouza-podcast (last visited
    Sept. 30, 2022).

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eligibility of more than 364,000 voters in Georgia.201 Most counties rejected the

challenges. 202

       232. TTV also maintains Georgia-specific resources on its website

including the state’s voter fraud hotline and links to the state’s voter identification

rules and elections schedule, targeting Georgians to seek out and report what they

suspect could be fraud. TTV’s website also contains Georgia-specific resources on

a “My State” page that enables Georgia residents to “Report Voter Fraud” in

Georgia.203 TTV runs an interactive online platform meant to assist voters in

scrutinizing their state’s voter rolls, including in Georgia. Defendants Engelbrecht

and Phillips are deeply involved in TTV’s efforts.

       233. Salem Media does business in Georgia and is registered there. It has

multiple programs in Georgia markets, for which it solicits commercial advertising

and derives substantial revenue.204


201
    Russ Bynum, Group says it’s challenging residency of 364K Georgia voters,
    News4 Jax (Dec. 19, 2020, 8:38 AM),
    https://www.news4jax.com/news/georgia/2020/12/19/group-says-its-
    challenging-residency-of-364k-georgia-voters/.
202
    David Wickert, Federal judge skeptical of Georgia voter challenges, Atlanta
    Journal (Jan. 2, 2021), https://www.ajc.com/politics/election/federal-judge-
    skeptical-of-georgia-voter-challenges/I4R54GYSXFENPLT7ZCDVQ6BSRE/.
203
    True the Vote, My State https://www.truethevote.org/my-state/ (last visited
    Oct. 10, 2022).
204
    Salem Media Group, Radio Stations, https://salemmedia.com/radio-stations-by-
    city/ga-atlanta/ (last visited Oct. 2, 2022).

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                              CLAIMS FOR RELIEF

     COUNT I: CONSPIRACY IN VIOLATION OF 42 U.S.C. § 1985(3)

      234. Plaintiff incorporates and realleges all preceding paragraphs as if set

forth fully herein.

      235. Plaintiff asserts a claim under Section 2 of the Ku Klux Klan Act

which states, in relevant part:

      if two or more persons conspire to prevent by force, intimidation, or
      threat, any citizen who is lawfully entitled to vote, from giving his
      support or advocacy in a legal manner, toward or in favor of the election
      of any lawfully qualified person as an elector for President or Vice
      President, or as a Member of Congress of the United States; or to injure
      any citizen in person or property on account of such support or
      advocacy; in any case or conspiracy set forth in this section, if one or
      more persons engaged therein do, or cause to be done, any act in
      furtherance of the object of such conspiracy, whereby another is injured
      in his person or property, or deprived of having and exercising any right
      or privilege of a citizen of the United States, the party so injured or
      deprived may have an action for recovery of damages occasioned by
      such injury or deprivation, against any one or more of the conspirators.
42 U.S.C. § 1985(3).

      236. Defendants violated 42 U.S.C. § 1985(3).

      237. Defendants conspired with each other and potentially with other non-

parties, to intimidate and threaten Mr. Andrews—and innumerable other eligible

voters—in order to deter him from engaging in support or advocacy on behalf of




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his preferred candidates for federal office by exercising his right to vote, and to

injure him on account of such support or advocacy.

      238. Defendants conspired with each other to take actions that would

intimidate a reasonable voter, including but not limited to: widely publicizing

Mr. Andrews’ image in conjunction with false and defamatory accusations that he

committed crimes; widely publicizing Mr. Andrews’ car make, model, and license

plate number, making his vehicle easily identifiable and therefore putting him in

danger of physical harm; widely publicizing false and defamatory accusation that

he is part of a vast criminal conspiracy that had the effect of “stealing” the 2020

presidential election; widely publicizing Mr. Andrews’ image, car, and license

plate number along with the accusation he participated in “riots,” “burning

people,” and “pulling people out of cars,” and is part of “organized crime” and

other violent crimes; widely publicizing his image, car, and license plate along

with calling him a “thug”; and other intimidating actions detailed above.

      239. These actions had the foreseeable and predictable effect of

intimidating Mr. Andrews from exercising his right to vote in the future—

including intimidating him from delivering his and his family members’ ballots via

drop box in the subsequent May 2022 primary election, and putting him in ongoing




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fear of voting in the November 2022 election and future elections—and injuring

Mr. Andrews on account of his exercising his right to vote.

      240. Defendants formed an agreement to undertake this course of conduct,

as demonstrated by their coordination described above, including but not limited

to: producing the 2000 Mules film together; launching an extensive and

coordinated media campaign together to publicize 2000 Mules, which included

repeatedly showing Mr. Andrews’ image alongside the false accusations against

him; appearing on at least eleven different media shows spreading the false claim

about Mr. Andrews and publishing their joint and separate media appearances on

several of Defendants’ separate websites and social media pages.

      241. Defendants took overt actions in furtherance of their conspiracy,

including but not limited to: filming and producing 2000 Mules film; releasing a

trailer for the film that includes Mr. Andrews’ image and the false accusations

against him; publicizing the film; appearing on at least eleven different media

shows along with Mr. Andrews’ image and the false accusations against him;

continuing to publicize Mr. Andrews’ image and the false claims against him on

their respective websites and social media pages; and continuing to publicize the

false claims against Mr. Andrews despite a retraction request.




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      242. Further, as detailed above, Defendants continue to spread, and have

not retracted, the false claims that Mr. Andrews engaged in voter fraud, despite

multiple refutations of those claims, including by state law enforcement officers.

      243. As detailed above, Mr. Andrews was and continues to be injured by

Defendants’ conduct in his person and property. Mr. Andrews feared exercising his

right to vote in the subsequent May 2022 primary election, and fears exercising his

right to vote in the future. Mr. Andrews also suffered financial injury; he has

needed to protect himself from potential threats of physical harm to himself and his

family. He has also suffered injury to his reputation, damage to his professional

reputation, and emotional and psychological injury.

      244. Mr. Andrews has been and will continue to be injured by Defendants’

unlawful actions unless this court grants relief.

                 COUNT II: VIOLATION OF 52 U.S.C. § 10307(B)

      245. Plaintiff incorporates and realleges all preceding paragraphs as if set

forth fully herein.

      246. Section 11(b) of the Voting Rights Act, 52 U.S.C. § 10307(b),

provides that:

      No person, whether acting under color of law or otherwise, shall
      intimidate, threaten, or coerce, or attempt to intimidate, threaten, or
      coerce any person for voting or attempting to vote, or intimidate,


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      threaten, or coerce, or attempt to intimidate, threaten, or coerce any
      person for urging or aiding any person to vote or attempt to vote . . . .
52 U.S.C. § 10307(b).

      247. Defendants violated Section 11(b) of the Voting Rights Act by taking

actions that would intimidate a reasonable voter and, in fact, did and continue to

intimidate Mr. Andrews.

      248. These actions include, but are not limited to: widely publicizing

Mr. Andrews’ image in conjunction with false and defamatory accusations that he

committed crimes; widely publicizing Mr. Andrews’ car make, model, and license

plate number, making his vehicle easily identifiable and therefore increasing the

possibility that he will face personal threats including of physical harm; widely

publicizing false and defamatory accusation that he is part of a vast criminal

conspiracy that had the effect of “stealing” the 2020 presidential election; widely

publicizing Mr. Andrews’ image, car, and license plate number along with the

accusation he participated in “riots,” “burning people,” and “pulling people out of

cars,” and is part of “organized crime” and other violent crimes; widely publicizing

his image, car, and license plate along with calling him a “thug”; and other

intimidating actions detailed above.

      249. As detailed above, Defendants’ actions had the foreseeable and

predictable effect of intimidating Mr. Andrews from exercising his right to vote in

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the future, including intimidating him from delivering his and his family members’

ballots via drop box in the subsequent May 2022 primary election and putting him

in ongoing fear of voting in the November 2022 election and future elections—and

causing harm to Mr. Andrews on account of his exercising his right to vote.

      250. Mr. Andrews was and continues to be harmed by Defendants’

conduct. Mr. Andrews feared exercising his right to vote in the subsequent May

2022 primary election, and fears exercising his right to vote in the future.

Mr. Andrews has also suffered financial injury, injury to his reputation, damage to

his professional reputation, and emotional and psychological injury. Defendants’

conduct has led to their reasonably expected consequences.

      251. Mr. Andrews has been and will continue to be injured by Defendants’

unlawful actions unless this court grants relief.

             COUNT III: DEFAMATION/DEFAMATION PER SE

      252. Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.

      253. Mr. Andrews is a private figure.

      254. Defendants published, caused to publish, or reasonably could have

foreseen the publication of a series of false and defamatory statements of fact about

Mr. Andrews, including by and through their agents and by making the statements


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themselves; and by republishing and failing to retract the statements on their

websites and social media accounts, as detailed extensively above.

      255. As a reasonably foreseeable—and intended—result of Defendants’

statements and actions, others repeated and amplified these false and defamatory

statements.

      256. Defendants implied a series of false facts about Mr. Andrews as well.

      257. Defendants intentionally created these false implications through the

false statements, by other statements that were misleading due to material

omissions, by presenting misleading juxtapositions of statements, and when taking

into account the context of each publication. The false implications were also made

through the defamation campaign as a whole.

      258. The defamatory meanings of Defendants’ false statements and implied

statements of facts are apparent from the face of the publications, often are

accompanied by video or still image of Mr. Andrews, and/or are understood to be

about him.

      259. The statements authored and published by Defendants about

Mr. Andrews are reasonably understood to state or imply that he:




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               (a)   engaged in a nationwide criminal conspiracy, along with others,

                     to accept payments to illegally pick up and place in ballot drop

                     boxes fraudulent votes to engage in election fraud;

               (b)   was in such a poor financial position that he needed to commit

                     crimes in exchange for small sums of money; and

               (c)   was previously engaged in multiple violent crimes such as

                     rioting, burning cities, and pulling people out of their cars and

                     beating them up.

      260. Each of these statements and implications is false and defamatory

per se.

      261. These statements have been viewed, read, or listened to by millions of

individuals.

      262. Each of these false statements was published with actual malice, that

is, with knowledge of its falsity or with reckless disregard as to its truth.

      263. Defendants had no credible basis for the false allegations made; failed

to contact and question obvious available sources for corroboration; disregarded

reliable sources refuting their claims; and published the allegations in a manner to

create false inferences.




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       264. Defendants had financial motives for promulgating lies about

Plaintiff.

       265. Defendants did not neutrally report the allegations about Mr. Andrews

that other members of the conspiracy advanced and that Georgia law enforcement

and election officials promptly rejected. Nor did they acknowledge the actual facts.

Rather, they endorsed the false allegations, publishing and republishing them for

months with full knowledge of their falsity or reckless disregard for their truth.

       266. Defendants had no applicable privilege or legal authorization to make

these false and defamatory statements, or if they did, they abused it.

       267. Defendants’ statements and implications about Andrews constitute

defamation per se in that they damaged him in his trade, office, or profession and

claimed that he participated in criminal activity punishable by law and labeled him

a ballot “mule” engaged in a criminal conspiracy to commit election fraud, a

person who had engaged in violent rioting and other criminal acts, and a person

whose professional reputation was so poor that he needed to accept small sums of

money in exchange for committing crimes.

       268. Defendants acted with willful misconduct, malice, fraud, wantonness,

oppression, and/or entire want of care which would raise the presumption of




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conscious indifference to consequences, and specifically intended to cause

Mr. Andrews harm.

      269. Defendants’ statements damaged Mr. Andrews’ reputation in the

general public, in his profession, and in his community.

      270. As a direct and proximate result of Defendants’ conduct, Mr. Andrews

has suffered significant general, actual, consequential, and special damages

including, without limitation, impairment of reputation and standing in the

community, personal humiliation, mental anguish and suffering, emotional

distress, stress, anxiety, and other pecuniary loss.

          COUNT IV: INVASION OF PRIVACY BY FALSE LIGHT

      271. Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.

      272. Mr. Andrews is a private figure.

      273. Defendants published, caused to publish, or reasonably could have

foreseen the publication of a series of false statements about Mr. Andrews,

including by and through their agents and by making the statements themselves;

and by republishing and failing to retract the statements on their website and social

media accounts, as detailed extensively above.




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      274. As a reasonably foreseeable—and intended—result of Defendants’

statements and actions, others repeated and amplified these false statements.

      275. Defendants’ conduct created false publicity that depicted Plaintiff as

something which he is not, namely that he:

             (a)    engaged in a nationwide criminal conspiracy, along with others,

                    to accept payments to illegally pick up and place in ballot drop

                    boxes fraudulent votes to engage in election fraud;

             (b)    was in such a poor financial position that he needed to commit

                    crimes in exchange for small sums of money; and

             (c)    was previously engaged in multiple violent crimes such as

                    rioting, burning cities, and pulling people out of their cars and

                    beating them up.

      276. This false light in which Defendants placed Plaintiff would be highly

offensive to a reasonable person.

      277. Each of these false statements was published with actual malice, that

is, with knowledge of its falsity or with reckless disregard as to its truth.

      278. Defendants failed to contact and question obvious available sources

for corroboration; disregarded reliable sources refuting their claims; had no




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credible basis for the false allegations made; and published the allegations in a

manner to create false inferences.

       279. Defendants had financial motives for promulgating lies about

Plaintiff.

       280. These statements were viewed, read, or listened to by thousands, and

even millions, of individuals.

       281. Defendants received and continue to receive substantial profit as a

result of depicting Plaintiff in a false light.

       282. Plaintiff was harmed and continues to be harmed by this invasion of

privacy by false light.

      COUNT V: INVASION OF PRIVACY BY APPROPRIATION OF
                          LIKENESS
       283. Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.

       284. Mr. Andrews is a private figure.

       285. Defendants published, caused to publish, or reasonably could have

foreseen the publication of Plaintiff’s likeness, including by and through their

agents and by making the statements themselves; and by republishing and failing

to retract the statements on their website and social media accounts, as detailed

extensively above.

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      286. In doing so, Defendants appropriated Mr. Andrews’ likeness.

      287. As described above, Defendants appropriated Mr. Andrews’ likeness

without his consent and on a continued basis.

      288. As described above, Defendants appropriated Mr. Andrews’ likeness

for financial gain. Defendants appropriated his likeness in a film to which they sold

tickets, DVDs, and streams. Defendants also promoted the film to raise their

profiles and related entities’ profiles, and to increase their subscribers on paid

subscription platforms. Defendants appropriated Mr. Andrews’ likeness in the

commercial for the film, and in television and other media appearances intended to

promote the film, themselves, and their organizations, for financial gain.

      289. Defendants consciously and deliberately have continued this

appropriation.

      290. Plaintiff was harmed and continues to be harmed by this invasion of

privacy by appropriation of likeness.

                          COUNT VI: CIVIL CONSPIRACY

      291. Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.

      292. Defendants agreed to intentionally and maliciously participate in a

civil conspiracy with other individuals, the purpose of which was to commit the


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torts of Defamation, Defamation per se, false light, and misappropriation of

likeness, as well as to engage in voter intimidation in violation of the Ku Klux

Klan Act and the Voting Rights Act.

      293. Throughout the course of the conspiracy, Defendants, acting in

concert with other individuals, coordinated in furtherance of the common scheme.

      294. Defendants agreed to launch a campaign to defame Mr. Andrews and

intimidate him and other voters and harm him and other voters because they voted,

as evidenced by the 2000 Mules film and accompanying commercial and press

appearances, and the decision to repeatedly plan, record, produce, and publish

segments on the topic of election “fraud” in Georgia including Mr. Andrews’

image.

      295. As a result of Defendants’ conspiracy, Mr. Andrews suffered

professional, reputational, and emotional harm, and caused the damages outlined

above.

                          COUNT VII: PUNITIVE DAMAGES

      296. Plaintiff incorporates and re-alleges all preceding paragraphs as if

fully set forth herein.

      297. The tortious conduct described herein was committed by Defendants

intentionally, willfully, maliciously, wantonly, and with utter disregard to the


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consequences to Plaintiff. Because Defendants acted with specific intent to cause

harm, there is no limitation regarding the amount that may be awarded as punitive

damages.

      298. In addition to full compensatory damages and all other relief sought

herein, Plaintiff is entitled to an award of punitive damages against Defendants in

an amount to be determined by the enlightened conscience of the jury and

sufficient to deter Defendants from engaging in such conduct in the future.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for judgment against Defendants for each of

the causes of action raised herein, and respectfully asks that this Court:

             (a)    Award damages in an amount to be determined at trial;

             (b)    Award punitive damages in an amount to be determined at trial;

             (c)    Award reasonable royalties for appropriation of Mr. Andrews’

                    likeness, as well as disgorgement of profits;

             (d)    Award reasonable attorneys’ fees and costs;

             (e)    Award pre-judgment and post-judgment interest at the highest

                    lawful rates;

             (f)    Declare that Defendants have violated 42 U.S.C. § 1985(3), 52

                    U.S.C. § 10307(b), and the state laws as set forth above;


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       (g)   Declare that the statements authored and published by

             Defendants identified within this complaint, individually and

             collectively, were and are false;

       (h)   Grant injunctive relief requiring Defendants to remove their

             false and defamatory statements about Plaintiff from any

             website and/or social media accounts under their control;

       (i)   Grant injunctive relief enjoining Defendants and anyone acting

             in privity with the Defendants from further violations of the

             law; and

       (j)   Grant any such other relief as this Court may deem just and

             proper.




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Dated: October 26, 2022              Respectfully submitted,


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*Pro Hac Vice applications forthcoming




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